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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

WI-LAN, INC.,                                 §
                                              §
       Plaintiff,                             §
v.                                            §   CASE NO. 2:07-CV-473-TJW
                                              §
ACER, INC., et al.,                           §
                                              §
      Defendants.                             §
_____________________________________         §   CONSOLIDATED WITH
                                              §
WI-LAN, INC.,                                 §
                                              §
       Plaintiff,                             §
v.                                            §   CASE NO. 2:07-CV-474-TJW
                                              §
WESTELL TECHNOLOGIES, INC., et al.,           §
                                              §
      Defendants.                             §
_____________________________________         §
                                              §
WI-LAN, INC.,                                 §
                                              §
       Plaintiff,                             §
v.                                            §   CASE NO. 2:08-CV-247-TJW
                                              §
RESEARCH IN MOTION CORP., et al.,             §
                                              §
       Defendants.                            §
                                              §

                       MEMORANDUM OPINION AND ORDER

I.     INTRODUCTION

       Plaintiff Wi-LAN, Inc. (“Wi-LAN”) filed suit against numerous defendants (collectively

“Defendants”) alleging infringement of U.S. Patent Nos. 5,282,222 (“the ‘222 patent”) and

RE37,802 (“the ‘802 patent”). The ‘222 patent is entitled “Method and Apparatus for Multiple


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Access Between Transceivers in Wireless Communications using OFDM Spread Spectrum.”

The ‘802 patent, entitled “Multicode Direct Sequence Spread Spectrum,” is a continuation-in-

part of the application leading to the ‘222 patent, with the same named inventors. This order

addresses the parties’ various claim construction disputes. The order will first briefly address the

technology at issue in the case and then turn to the merits of the claim construction issues.

II.    BACKGROUND OF THE TECHNOLOGY

       The patents-in-suit are directed to voice and data transmission in wireless

communications.     The ‘222 patent is directed to wideband Orthogonal Frequency Domain

Modulation communication systems, while the ‘802 patent is directed to direct sequence spread

spectrum communication systems.

The abstract of the ‘222 patent states:

       A method for allowing a number of wireless transceivers to exchange information
       (data, voice or video) with each other. A first frame of information is multiplexed
       over a number of wideband frequency bands at a first transceiver, and the
       information transmitted to a second transceiver. The information is received and
       processed at the second transceiver. The information is differentially encoded
       using phase shift keying. In addition, after a pre-selected time interval, the first
       transceiver may transmit again. During the preselected time interval, the second
       transceiver may exchange information with another transceiver in a time duplex
       fashion. The processing of the signal at the second transceiver may include
       estimating the phase differential of the transmitted signal and pre-distorting the
       transmitted signal. A transceiver includes an encoder for encoding information, a
       wideband frequency division multiplexer for multiplexing the information onto
       wideband frequency voice channels, and a local oscillator for upconverting the
       multiplexed information. The apparatus may include a processor for applying a
       Fourier transform to the multiplexed information to bring the information into the
       time domain for transmission.

Claim 1 of the ‘222 patent is reproduced below:

       A transceiver including a transmitter for transmitting electromagnetic signals and
       a receiver for receiving electromagnetic signals having amplitude and phase
       differential characteristics, the transmitter comprising:

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       an encoder for encoding information;
       a wideband frequency division multiplexer for multiplexing the information onto
          wideband frequency channels;
       a low pass filter;
       a local oscillator for upconverting the multiplexed information for transmission;
       a processor for applying a Fourier transform to the multiplexed information to
          bring the information into the time domain for transmission;
       further including, in the receiver of the transceiver:
           a bandpass filter for filtering the received electromagnetic signals;
           a local oscillator for downconverting the received electromagnetic signals to
               produce output;
           a sampler for sampling the output of the local oscillator to produce sampled
               signals to the channel estimator;
           a channel estimator for estimating one or both of the amplitude and the phase
               differential of the received signals to produce as output one or both of an
               estimated amplitude and an estimated phase differential respectively; and
           a decoder for producing signals from the sampled signals and the output from
               the channel estimator.
The abstract of the ‘802 patent states:

       In this patent, we present MultiCode Direct Sequence Spread Spectrum (MC-
       DSSS) which is a modulation scheme that assigns up to N DSSS codes to an
       individual user where N is the number of chips per DSSS code. When viewed as
       DSSS, MC-DSSS requires up to N correlators (or equivalently up to N Matched
       Filters) at the receiver with a complexity of the order of N2 operations. In
       addition, a non ideal communication channel can cause InterCode Interference
       (ICI), i.e., interference between the N DSSS codes. In this patent, we introduce
       new DSSS codes, which we refer to as the "MC" codes. Such codes allow the
       information in a MC-DSSS signal to be decoded in a sequence of low complexity
       parallel operations which reduce the ICI. In addition to low complexity decoding
       and reduced ICI. MC-DSSS using the MC codes has the following advantages:
       (1) it does not require the stringent synchronization DSSS requires, (2) it does not
       require the stringent carrier recovery DSSS requires and (3) it is spectrally
       efficient.

Claim 1 of the ‘802 patent is reproduced below:

       A transceiver for transmitting a first stream of data symbols, the transceiver
       comprising:

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       a converter for converting the first stream of data symbols into plural sets of N
       data symbols each;
       first computing means for operating on the plural sets of N data symbols to
       produce modulated data symbols corresponding to an invertible randomized
       spreading of the first stream of data symbols; and
       means to combine the modulated data symbols for transmission.

III.   GENERAL PRINCIPLES GOVERNING CLAIM CONSTRUCTION

       “A claim in a patent provides the metes and bounds of the right which the patent confers

on the patentee to exclude others from making, using or selling the protected invention.” Burke,

Inc. v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1340 (Fed. Cir. 1999). Claim construction

is an issue of law for the court to decide. Markman v. Westview Instruments, Inc., 52 F.3d 967,

970-71 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

       To ascertain the meaning of claims, the court looks to three primary sources: the claims,

the specification, and the prosecution history. Markman, 52 F.3d at 979. The specification must

contain a written description of the invention that enables one of ordinary skill in the art to make

and use the invention. Id. A patent’s claims must be read in view of the specification, of which

they are a part. Id. For claim construction purposes, the description may act as a sort of

dictionary, which explains the invention and may define terms used in the claims. Id. “One

purpose for examining the specification is to determine if the patentee has limited the scope of

the claims.” Watts v. XL Sys., Inc., 232 F.3d 877, 882 (Fed. Cir. 2000).

       Nonetheless, it is the function of the claims, not the specification, to set forth the limits of

the patentee’s claims. Otherwise, there would be no need for claims. SRI Int’l v. Matsushita

Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (en banc). The patentee is free to be his own

lexicographer, but any special definition given to a word must be clearly set forth in the


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specification. Intellicall, Inc. v. Phonometrics, Inc., 952 F.2d 1384, 1388 (Fed. Cir. 1992).

Although the specification may indicate that certain embodiments are preferred, particular

embodiments appearing in the specification will not be read into the claims when the claim

language is broader than the embodiments. Electro Med. Sys., S.A. v. Cooper Life Sciences, Inc.,

34 F.3d 1048, 1054 (Fed. Cir. 1994).

        This court’s claim construction decision must be informed by the Federal Circuit’s

decision in Phillips v. AWH Corporation, 415 F.3d 1303 (Fed. Cir. 2005) (en banc). In Phillips,

the court set forth several guideposts that courts should follow when construing claims. In

particular, the court reiterated that “the claims of a patent define the invention to which the

patentee is entitled the right to exclude.”       415 F.3d at 1312 (emphasis added) (quoting

Innova/Pure Water, Inc. v. Safari Water Filtration Systems, Inc., 381 F.3d 1111, 1115 (Fed. Cir.

2004)). To that end, the words used in a claim are generally given their ordinary and customary

meaning. Id. The ordinary and customary meaning of a claim term “is the meaning that the term

would have to a person of ordinary skill in the art in question at the time of the invention, i.e., as

of the effective filing date of the patent application.” Id. at 1313. This principle of patent law

flows naturally from the recognition that inventors are usually persons who are skilled in the

field of the invention and that patents are addressed to and intended to be read by others skilled

in the particular art. Id.

        The primacy of claim terms notwithstanding, Phillips made clear that “the person of

ordinary skill in the art is deemed to read the claim term not only in the context of the particular

claim in which the disputed term appears, but in the context of the entire patent, including the

specification.” Id. Although the claims themselves may provide guidance as to the meaning of


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particular terms, those terms are part of “a fully integrated written instrument.” Id. at 1315,

quoting Markman, 52 F.3d at 978. Thus, the Phillips court emphasized the specification as being

the primary basis for construing the claims. Id. at 1314-17. As the Supreme Court stated long

ago, “in case of doubt or ambiguity it is proper in all cases to refer back to the descriptive

portions of the specification to aid in solving the doubt or in ascertaining the true intent and

meaning of the language employed in the claims.” Bates v. Coe, 98 U.S. 31, 38 (1878). In

addressing the role of the specification, the Phillips court quoted with approval its earlier

observations from Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir.

1998):

         Ultimately, the interpretation to be given a term can only be determined and
         confirmed with a full understanding of what the inventors actually invented and
         intended to envelop with the claim. The construction that stays true to the claim
         language and most naturally aligns with the patent’s description of the invention
         will be, in the end, the correct construction.

Phillips, 415 F.3d at 1316. Consequently, Phillips emphasized the important role the

specification plays in the claim construction process.

         The prosecution history also continues to play an important role in claim interpretation.

Like the specification, the prosecution history helps to demonstrate how the inventor and the

PTO understood the patent. Id. at 1317. Because the file history, however, “represents an

ongoing negotiation between the PTO and the applicant,” it may lack the clarity of the

specification and thus be less useful in claim construction proceedings. Id. Nevertheless, the

prosecution history is intrinsic evidence that is relevant to the determination of how the inventor

understood the invention and whether the inventor limited the invention during prosecution by

narrowing the scope of the claims. Id.


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       Phillips rejected any claim construction approach that sacrificed the intrinsic record in

favor of extrinsic evidence, such as dictionary definitions or expert testimony. The en banc court

condemned the suggestion made by Texas Digital Systems, Inc. v. Telegenix, Inc., 308 F.3d 1193

(Fed. Cir. 2002), that a court should discern the ordinary meaning of the claim terms (through

dictionaries or otherwise) before resorting to the specification for certain limited purposes.

Phillips, 415 F.3d at 1319-24. The approach suggested by Texas Digital–the assignment of a

limited role to the specification–was rejected as inconsistent with decisions holding the

specification to be the best guide to the meaning of a disputed term. Id. at 1320-21. According

to Phillips, reliance on dictionary definitions at the expense of the specification had the effect of

“focus[ing] the inquiry on the abstract meaning of words rather than on the meaning of claim

terms within the context of the patent.” Id. at 1321. Phillips emphasized that the patent system

is based on the proposition that the claims cover only the invented subject matter. Id. What is

described in the claims flows from the statutory requirement imposed on the patentee to describe

and particularly claim what he or she has invented. Id. The definitions found in dictionaries,

however, often flow from the editors’ objective of assembling all of the possible definitions for a

word. Id. at 1321-22.

       Phillips does not preclude all uses of dictionaries in claim construction proceedings.

Instead, the court assigned dictionaries a role subordinate to the intrinsic record. In doing so, the

court emphasized that claim construction issues are not resolved by any magic formula. The

court did not impose any particular sequence of steps for a court to follow when it considers

disputed claim language. Id. at 1323-25. Rather, Phillips held that a court must attach the

appropriate weight to the intrinsic sources offered in support of a proposed claim construction,


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bearing in mind the general rule that the claims measure the scope of the patent grant.

         The patents-in-suit include claim limitations that are argued to fall within the scope of 35

U.S.C. § 112, ¶ 6. “An element in a claim for a combination may be expressed as a means or

step for performing a specified function without the recital of structure. . . in support thereof, and

such claim shall be construed to cover the corresponding structure . . . described in the

specification and equivalents thereof.” 35 U.S.C. § 112, ¶ 6. When a claim uses the term

“means” to describe a limitation, a presumption inheres that the inventor used the term to invoke

§ 112, ¶ 6. Biomedino, LLC v. Waters Technologies Corp., 490 F.3d 946, 950 (Fed. Cir. 2007).

“This presumption can be rebutted when the claim, in addition to the functional language, recites

structure sufficient to perform the claimed function in its entirety.” Id., citing Altiris, Inc. v.

Symantec Corp., 318 F.3d 1363, 1375 (Fed. Cir. 2003). By contrast, when a claim term does not

use “means,” the term is presumptively not subject to § 112, ¶ 6. CCS Fitness, Inc. v. Brunswick

Corp., 288 F.3d 1359, 1369 (Fed. Cir. 2002); MIT v. Abacus Software, 462 F.3d 1344, 1353

(Fed. Cir. 2006). A limitation lacking the term “means” may overcome the presumption if it is

shown that “the claim term fails to recite sufficiently definite structure or else recites function

without reciting sufficient structure for performing that function.” MIT, 462 F.3d at 1353,

quoting CCS Fitness, 288 F.3d. at 1369. “What is important is whether the term is one that is

understood to describe structure, as opposed to a term that is simply a nonce word or a verbal

construct that is not recognized as the name of structure and is simply a substitute for the term

‘means for.’” Lighting World, Inc. v. Birchwood Lighting, Inc., 382 F.3d 1354, 1360 (Fed. Cir.

2004).




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       Once the court has concluded the claim limitation is a means-plus-function limitation, the

first step in construing a means-plus-function limitation is to identify the recited function. See

Micro Chem., Inc. v. Great Plains Chem. Co., 194 F.3d 1250, 1258 (Fed. Cir. 1999). The second

step in the analysis is to identify in the specification the structure corresponding to the recited

function. Id. The “structure disclosed in the specification is ‘corresponding’ structure only if the

specification or prosecution history clearly links or associates that structure to the function

recited in the claim.” Medical Instrumentation and Diagnostics Corp. v. Elekta AB, 344 F.3d

1205, 1210 (Fed. Cir. 2003), citing B. Braun v. Abbott Labs, 124 F.3d 1419, 1424 (Fed. Cir.

1997). The patentee must clearly link or associate structure with the claimed function as part of

the quid pro quo for allowing the patentee to express the claim in terms of function pursuant to

§ 112, ¶ 6. See id. at 1211; see also Budde v. Harley-Davidson, Inc., 250 F.3d 1369, 1377 (Fed.

Cir. 2001). The “price that must be paid” for use of means-plus-function claim language is the

limitation of the claim to the means specified in the written description and equivalents thereof.

See O.I. Corp. v. Tekmar Co., 115 F.3d 1576, 1583 (Fed. Cir. 1997). “If the specification does

not contain an adequate disclosure of the structure that corresponds to the claimed function, the

patentee will have ‘failed to particularly point out and distinctly claim the invention as required

by the second paragraph of section 112,’ which renders the claim invalid for indefiniteness.”

Blackboard, Inc. v. Desire2Learn, Inc., 574 F.3d 1371, 1382 (Fed. Cir. 2009), quoting In re

Donaldson Co., 16 F.3d 1189, 1195 (Fed. Cir. 1994) (en banc). It is important to determine

whether one of skill in the art would understand the specification itself to disclose the structure,

not simply whether that person would be capable of implementing the structure. See Atmel

Corp. v. Info. Storage Devices, Inc., 198 F.3d 1374, 1382 (Fed. Cir. 1999); Biomedino, 490 F.3d


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 at 953. Fundamentally, it is improper to look to the knowledge of one skilled in the art separate

 and apart from the disclosure of the patent. See Medical Instrumentation, 344 F.3d at 1211-12.

 “[A] challenge to a claim containing a means-plus-function limitation as lacking structural

 support requires a finding, by clear and convincing evidence, that the specification lacks

 disclosure of structure sufficient to be understood by one skilled in the art as being adequate to

 perform the recited function.” Budde, 250 F.3d at 1376-77.

        At issue in this case is whether certain claims of the patents-in-suit are indefinite. A

 claim is invalid for indefiniteness if it fails to particularly point out and distinctly claim the

 subject matter that the applicant regards as the invention. 35 U.S.C. § 112, ¶ 2. To prevail on an

 indefiniteness argument, the party seeking to invalidate a claim must prove “by clear and

 convincing evidence that a skilled artisan could not discern the boundaries of the claim based on

 the claim language, the specification, and the prosecution history, as well as her knowledge of

 the relevant art area.” Halliburton Energy Services, Inc. v. M-I LLC, 514 F.3d 1244, 1249-50

 (Fed. Cir. 2008). The primary purpose of the definiteness requirement is to ensure public notice

 of the scope of the patentee's legal right to exclude, such that interested members of the public

 can determine whether or not they infringe. Datamize, LLC v. Plumtree Software, Inc., 417 F.3d

 1342, 1347 (Fed. Cir. 2005); Halliburton, 514 F.3d at 1249; Honeywell Int'l Inc. v. Int'l Trade

 Comm'n, 341 F.3d 1332, 1338 (Fed. Cir. 2003). Courts apply the general principles of claim

 construction in their efforts to construe allegedly indefinite claim terms. Datamize, 417 F.3d at

 1348; Young v. Lumenis, Inc., 492 F.3d 1336, 1346 (Fed. Cir. 2007). A claim is indefinite only

 when a person of ordinary skill in the art is unable to understand the bounds of the claim when

 read in light of the specification. Miles Labs., Inc. v. Shandon, Inc., 997 F.2d 870, 875 (Fed. Cir.


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 1993); Star Scientific, Inc. v. R.J. Reynolds Tobacco Co., 537 F.3d 1357, 1371 (Fed. Cir. 2008).

 A determination of claim indefiniteness is a conclusion of law. Exxon Research & Eng'g Co. v.

 United States, 265 F.3d 1371, 1375-76 (Fed. Cir. 2001); Datamize, 417 F.3d at 1347.

        A claim is indefinite only if the claim is “insolubly ambiguous” or “not amenable to

 construction.” Exxon, 265 F.3d at 1375; Young, 492 F.3d at 1346; Halliburton, 514 F.3d at

 1249; Honeywell, 341 F.3d at 1338-39. A court may find a claim indefinite “only if reasonable

 efforts at claim construction prove futile.” Datamize, 417 F.3d at 1347. A claim term is not

 indefinite solely because the term presents a difficult claim construction issue. Id.; Exxon, 265

 F.3d at 1375; Honeywell, 341 F.3d at 1338. “If the meaning of the claim is discernable, even

 though the task may be formidable and the conclusion may be one over which reasonable

 persons will disagree, ... the claim [is] sufficiently clear to avoid invalidity on indefiniteness

 grounds.” Exxon, 265 F.3d at 1375; Halliburton, 514 F.3d at 1249.

 IV.    AGREED CONSTRUCTIONS

        Based upon the joint submission of claim construction charts, the following terms of the

 ‘222 and ‘802 patents have been agreed to by the parties, and therefore adopted by the Court:

                   Claim term                           Agreed Construction
                        χ                   a real value that when multiplied by the
                                            duration of one time domain sample provides
                                            the maximum expected clock error




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 V.      TERMS IN DISPUTE OF THE ‘222 PATENT

      1. “transceiver”

   Wi-LAN’s Proposed Construction                   Defendants’ Proposed Construction
  “a two-way radio unit”                    “transceiver that omits clock recovery, carrier
                                            recovery, automatic gain control, passband limiter,
                                            power amplifier, an equalizer, and an interleaver-
                                            deinterleaver”

                                            Alternatively, “transmitter and receiver that omits
                                            clock recovery, carrier recovery, automatic gain
                                            control, passband limiter, power amplifier, an
                                            equalizer, and an interleaver-deinterleaver”

         The Court finds that claim 1 of the ‘222 patent requires a “transceiver,” whereas claim 7

 of the ‘222 patent requires a “wireless transceiver.” Claim 1 requires that the transceiver has

 both a transmitter for transmitting and a receiver for receiving. In the Background and Summary

 of the Invention section, the specification expressly states that a transceiver is “capable of

 transmitting and receiving information (voice, data or video) in the form of electromagnetic

 signals,” “may be fixed or portable,” and in personal communications networks may be a

 “portable radio unit.” ‘222 patent, 1:33-36, 1:43-45. The Court finds that the ordinary definition

 of the term “transceiver” is a device that both transmits and receives data. While the Court finds

 that a two-way radio unit may be a transceiver, the Court rejects Wi-LAN’s argument that the

 transceiver must necessarily be limited to a radio unit.

         The Court finds that the primary dispute between the parties is whether certain

 advantages or benefits of the disclosed system are merely optional or are mandatory omissions

 from the definition of a “transceiver.” Defendants argue that the specification makes repeated

 disclaimers of prior art transceiver components throughout the specification and distinguishes the

 “present invention” from the prior art on the basis that it omits a number of components found in

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 prior art transceivers.    Defendants argue that the Federal Circuit is clear that when the

 specification makes clear that the alleged invention does not include particular items those items

 are outside the scope of the claims. The Court disagrees with Defendants’ arguments. While

 there is language in the specification indicating that the present invention distinguishes prior art

 as requiring certain attributes of the transceiver that are not required in the applicants’ invention,

 the Court finds that the language is not a clear limitation that the term transceiver is to be so

 limited. Rather, the Court finds that certain omissions of the present invention, compared to the

 prior art, are merely advantageous and not necessary. The Court finds that the “not required”

 language in the specification does not necessarily mean “omitted” or “excluded.” For example,

 in the Detailed Description of the Preferred Embodiments section, the language only states that

 some of the prior art components of a transceiver are “not required” or “not used” and briefly

 describes how the “omissions” of these components can be done without impairing the quality

 and capacity of the system. ‘222 patent, 4:55-63; 12:45-50. The Court finds that there is no

 express requirement that the present invention necessarily excludes the optional components nor

 is there any express disavowal that the term “transceiver” excludes the optional components.

 The Court finds that not a single claim in the ’222 patent includes the requirement that these

 optional components must be omitted from the transceiver. Further, because claim 7 provides

 certain limitations of the width of the frequency band so that “neither carrier nor clock recovery

 is required at the second transceiver,” such a limitation would be meaningless if the transceiver

 had already expressly omitted clock recovery and carrier recovery. The Court finds that, in the

 entirety of the specification and the claims and considering the ordinary meaning of the term, the

 omission of the disputed elements is merely optional, i.e. “not required,” and is not a necessary


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 exclusion. Thus, the Court construes the term “transceiver” as “a device that transmits and

 receives data.”

    2. “amplitude and phase differential characteristics”

                                    Wi-LAN’s Proposed                    Defendants’ Proposed
     Claim Language
                                       Construction                          Construction
  “amplitude and phase       “amplitude and phase distortions”       “amplitude and phase
  differential                                                       characteristics resulting from
  characteristics”           Alternative: “amplitude and phase       differential modulation”
                             differences in the received signal
                             caused by the wireless channel”
  “amplitude and phase       “amplitude and phase distortions”       “difference in amplitude and
  differential”                                                      phase”
                             Same alternative
  “differential              “amplitude and phase distortions”       “characteristics resulting from
  characteristics”                                                   differential modulation”
                             Same alternative
  “estimated amplitude       “amplitude and phase distortions”       “estimated difference in
  and an estimated phase                                             amplitude or phase between
  differential”              Same alternative                        received data symbols”

        The Court rejects Wi-LAN’s proposal that “differential” in the claims is equal to

 “distortions.” The claims of the ‘222 patent never mention “distortion.” While much of the ‘222

 patent references “phase differential,” the patent also references “distortion” in various instances.

 However, the patent never refers to a “differential” as a “distortion” and never equates those

 terms. The Court finds that Wi-LAN is seeking to improperly remove the word “differential”

 from the claims and substitute an entirely different word. The Court finds that “differential” and

 “distortion” have different meanings. Claim 1 of the ‘222 patent requires “amplitude and phase

 differential characteristics,” “the amplitude,” “the phase differential,” “an estimated amplitude,”

 and “an estimated phase differential.”       Further, dependent claim 4 recites “the estimated

 amplitude” or “the estimated phase differential,” dependent claim 6 recites “estimated amplitude

 and phase differential,” dependent claim 11 recites “an estimated phase differential,” and

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 dependent claim 12 recites “the phase differential.”         The claims recite only two terms:

 “amplitude” and “phase differential.” In other words, the words “differential” and “phase” must

 be construed together as “phase differential.” Thus, the Court rejects the parties’ arguments that

 the term “differential” applies to both “phase” and “amplitude.” Accordingly, based on the claim

 language, the Court rejects Wi-LAN’s argument that the “differential” term implies that it is

 distortions to both the amplitude and phase of the signal or differences in both the amplitude and

 phase caused by the channel.       Similarly, based on the claim language, the Court rejects

 Defendants’ argument that the “differential” term implies that it is the result of differential

 modulation to both the amplitude and phase of the signal, as compared to just the phase of the

 signal. If the Court were to require differential modulation to both the amplitude and the phase

 of the transmitted signal, it would impermissibly eliminate the preferred embodiment of

 multilevel differential phase shift keying (MDPSK), a technique that changes the phase of a

 signal and not the amplitude of the signal.

        This interpretation is consistent with the specification. The Abstract and the Background

 and Summary of the Invention sections provide that “[t]he processing of the signal at the second

 transceiver may include estimating the phase differential of the transmitted signal…” ‘222

 patent, Abstract, 3:4-6.   The Detailed Description also has numerous references to “phase

 differential.” See id. at 9:43-61; 10:58-11:2; 11:18-12:13; 18:1-9. While the focus of the patent

 is on differential phase modulation, hence the repeated use of the term “phase differential,” there

 are at least two references in the specification to the potential use of amplitude modulation by the

 technique of quadrature amplitude modulation (“QAM”). See id. at 5:34-35; 7:24-27. However,

 the ‘222 patent suggests that QAM should not be used because “amplitude modulation makes it


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 difficult to equalize the distorting effects of the channel on the signal.” Id. at 7:24-27. Based

 upon the claim language chosen by the patentee, the Court finds that the claimed language does

 not necessarily require the alternative disclosed technique of amplitude modulation. In the

 claims, the term “differential” applies specifically only to the phase of the signal, and does not

 reference or relate to the term amplitude in the claim language. While the transmitted and

 received signals will necessarily have an amplitude (and phase), and there will likely be

 distortions to the amplitude (and phase) caused by the channel, the Court finds that the express

 claim language indicates that the term differential, and hence differential modulation, only

 applies to the phase of the signal and not the amplitude.

        In the patent, the claimed channel estimator estimates the phase differential of the

 transmitted signals by sampling the amplitude envelope of the signals. See ‘222 patent, 11:1-28.

 The specification expressly describes a “phase estimator” in the channel estimator. See ‘222

 patent, 10:58-60; 18:48-50.     The Court agrees with the Defendants that estimates of the

 “amplitude” and the “phase differential” are used to correct for distortion over the channel, and

 accordingly, the “phase differential” of the received signal is supplied to the “pre-distorter” to

 correct for “phase distortion over the channel.” See ‘222 patent, 9:43-61. The channel estimator

 uses the differences in amplitude of the signals by sampling the amplitude envelope to estimate

 the phase differential of the transmitted signal, see ‘222 patent, 11:3-12:22, and the estimated

 “amplitude” and the “phase differential” are then used to correct for distortion over the channel.

 See claim 4; see also ‘222 patent, 9:43-61. This interpretation is further reinforced by the

 patentee’s co-pending application, now U.S. Patent No. 5,369,670 (“the ‘670 patent”), that was

 referenced in the prosecution history of the ‘222 patent as being “relevant to the extent that it


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 includes a description of the phase estimation technique disclosed in the present application.”

 See Applicants’ April 19, 1993 Information Disclosure Statement. The ‘670 patent expressly

 states that “[a] differential of a sequence of symbols or data points is a measure of the time rate

 of change of a sequence of symbols or data points. … it may be estimated as a difference

 between symbols or data points.” ‘670 patent, 4:3-11. “The information in the carrier signal

 may be carried in the phase differential of a number of consecutive time instants, or as

 differential phase shifts of a number of frequency components of the transmitted signal.” ‘670

 patent, 4:27-31. Further, the ‘670 patent states that “the estimation of the phase differential may

 be made from sampling the amplitude of the transmitted signal” and that the estimated phase

 differential can be used to “produce a corrected signal.” ‘670 patent, 2:46-48, 63-68. Thus, the

 specification of the ‘670 patent is consistent with this Court’s interpretation of the claims in the

 ‘222 patent.

        In an alternative construction, Wi-LAN proposes that the amplitude and phase differences

 in the received signal are “caused by the wireless channel.” Defendants take a contrary position

 and contend that the differences result solely from “differential modulation.” Neither position is

 entirely correct. The wireless channel can cause differences or distortions to the amplitude or

 phase of the transmitted signal by numerous affects, such as Doppler shifts, multipath

 interference, fading, and clock error. Thus, while there will likely be distortions to the amplitude

 and phase of the transmitted signal caused by the channel, the claim language, as interpreted in

 light of the specification, indicates that the terms “amplitude” and “phase differential” as claimed

 are not the distortions or differences to the signal as a result of the channel. Further, the Court

 finds that the claimed phrase, because the term “differential” applies to “phase” and not


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 “amplitude,” cannot be referencing the differences or distortions of the channel on both the

 amplitude and phase of the received signal. Rather, the term “phase differential,” based upon the

 specification, the claims, and one of ordinary skill in the art, implies that the transmitted

 information is carried in the phase differential of the transmitted signals, i.e., the phase

 differential is the result of differential modulation and not the effects of the wireless channel. As

 described further in the analysis section for the term “channel estimator,” the channel estimator

 computes the effects of the distortions from the differences in the amplitude and phase

 differential, but it does not directly measure or compute the distortions. Rather, the channel

 estimator supplies the estimated phase differential to correct for or equalize the phase distortions

 over the channel.     This construction for the term channel estimator confirms the Court’s

 construction for the term “amplitude” and “phase differential” of the signal as not being

 distortions or mere differences as a result of the channel effects.

        For the above reasons, the Court construes the term “phase differential” to mean

 “difference in phase resulting from differential modulation.” The term “characteristic” is not

 used in the specification of the ‘222 patent. The Court finds that the term applies to both

 “amplitude” and “phase differential” in claim 1. Thus, the Court construes the term “amplitude

 and phase differential characteristics” to mean “characteristics of both the amplitude and the

 difference in phase resulting from differential modulation of the received data signals.” The

 Court construes the term “amplitude and phase differential” to mean “amplitude and difference

 in phase resulting from differential modulation.” The Court construes the term “an estimated

 amplitude and an estimated phase differential” to mean “an estimated amplitude and an

 estimated difference in phase resulting from differential modulation.”


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    3. “channel estimator”

        Wi-LAN’s Proposed Construction                   Defendants’ Proposed Construction
  “a device for computing the amplitude and/or        “a device for estimating one or both of the
  phase distortions of a received signal”             amplitude and the phase differential of the
                                                      received signals to produce as output one or
  Alternative: “a device for computing amplitude      both of the difference in amplitude or phase
  and/or phase differences in the received signal     between received data symbols”
  caused by the wireless channel”

        The construction for this term is largely related to the construction for the terms relating

 to “amplitude and phase differential.” In light of the Court’s prior constructions, the only term to

 be construed is the “channel estimator” term itself. As previously stated, the claimed channel

 estimator estimates the phase differential of the transmitted signals by sampling the amplitude

 envelope of the signals. See ‘222 patent, 11:1-28. There may be distortions to the amplitude and

 phase of the transmitted signal caused by the channel. However, the Court finds that estimates of

 the “amplitude” and the “phase differential” are used to correct for distortions over the channel,

 not that the channel estimator itself directly computes or measures the distortions. See ‘222

 patent, 9:43-61. Accordingly, the “phase differential” of the received signal is supplied to the

 “pre-distorter” to correct for “phase distortion over the channel.”         Id.   The Defendants’

 construction largely recites most of the subsequent language following the term to be construed,

 and therefore the Court rejects Defendants’ construction as being unhelpful. Again, the Court

 rejects Wi-LAN’s proposal to equate the term differential to distortion. The Court finds that the

 language of the claims and specification are clear that the channel estimator may compute an

 estimated phase differential and estimated amplitude, but it is not necessarily a device for

 computing distortions. See ‘222 patent, 9:43–61. The channel estimator of the ‘222 patent first

 obtains an estimated amplitude of the received signal by sampling the amplitude envelope, which


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 is then used to obtain an estimated “phase differential” to correct for the channel’s effects on the

 received signal. ‘222 patent, 11:10–19. The specification provides that the channel estimator is

 for “estimating the channel.” See ‘222 patent, 10:67-11:1. Further, the plain language of the

 term “channel estimator” implies that it is a device that estimates the channel. Wi-LAN’s expert

 confirms that the goal of the channel estimator is to estimate the channel, and more particularly

 to estimate the effect of the channel on information symbols. Thus, the Court construes the term

 “channel estimator” to mean “a device that estimates the effect of the channel on the transmitted

 signals.”

    4. “a wideband frequency division multiplexer for multiplexing the information onto
       wideband frequency channels”

       Wi-LAN’s Proposed Construction                    Defendants’ Proposed Construction
  Entire disputed phrase:                            Entire disputed phrase:
  “a device for placing information onto a           “a multiplexer for multiplexing the
  number of frequencies (K) having a frequency       information onto frequency channels with a K
  range between the frequencies (Δf), both large     and a Δf large enough to be able to achieve a
  enough to be able to achieve a specific            specific throughput and large enough to be
  throughput and large enough to be able to          able to avoid using either a clock or a carrier
  avoid using either a clock or a carrier            recovery device without substantially
  recovery device without substantially              affecting the BER”
  affecting the BER”

  wideband frequency division multiplexer:           wideband frequency division multiplexer:
  “a device for placing information onto             “a multiplexer for multiplexing the
  wideband frequency channels”                       information onto [wideband] frequency
                                                     channels”
  wideband frequency channels:
  “a number of frequencies (K) having a              wideband frequency channels:
  frequency range between the frequencies (Δf),      “frequency channels with a K and a Δf large
  both large enough to be able to achieve a          enough to be able to achieve a specific
  specific throughput and large enough to be         throughput and large enough to be able to
  able to avoid using either a clock or a carrier    avoid using either a clock or a carrier
  recovery device without substantially              recovery device without substantially
  affecting the bit error rate (BER)”                affecting the BER”

        The phrase to be construed is “a wideband frequency division multiplexer for

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 multiplexing the information onto wideband frequency channels.” “Wideband in this patent

 document is described in the context of Wideband-Orthogonal Frequency Domain Modulation

 (W-OFDM or wideband OFDM).” ‘222 patent, 5:24-26. The specification defines Wideband-

 OFDM as “OFDM with a K and a )f large enough to be able to achieve a specific throughput

 and large enough to be able to avoid using either a clock or a carrier recovery device without

 substantially affecting the BER.” ‘222 patent, 6:30-34. The specification of the ‘222 patent

 repeatedly states that a “first frame of information is multiplexed over a number of wideband

 frequency bands at a first transceiver, and the information transmitted to a second transceiver.

 See ‘222 patent, Abstract; 2:54-57. The transceiver includes “a wideband frequency division

 multiplexer for multiplexing the information onto wideband frequency channels.” See ‘222

 patent, Abstract; 3:25-28. “To implement wideband modulation, Orthogonal Frequency Division

 Multiplexing (OFDM) is preferred in which the information, for example encoded speech, is

 multiplexed over a number of contiguous frequency bands.” ‘222 patent, 7:12-15.

        Wi-LAN argues that the term “frequency division multiplexer” means “a device for

 placing information onto a number of frequencies. Further, Wi-LAN argues that “frequency

 division multiplexing” is a method for transmitting information simultaneously in the frequency

 domain by placing information onto a number of frequencies. Thus, Wi-LAN contends that the

 term multiplexing means “placing.”      The Court disagrees with Wi-LAN.          However, the

 Defendants do not provide a helpful construction for the term and merely argue that it is “a

 multiplexer for multiplexing the information” onto wideband frequency channels. The Court

 finds that the terms “multiplexer” and “multiplexing” are well known in the art. The Court finds

 that the term “multiplexer” means a device that multiplexes, e.g., combines or merges two or


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 more signals or input channels into a single output signal or single output channel. Likewise, the

 Court finds that the term “multiplexing” means combining two or more signals into a single

 output signal. There is nothing in the specification or claim language that dictates straying away

 from these well known-meanings. The Court finds that one of ordinary skill in the art would

 understand, in general, frequency division multiplexing as a type of multiplexing where different

 frequencies are used to combine multiple streams of data for transmission, wherein each signal is

 assigned a different carrier frequency. The Court finds that one of ordinary skill in the art would

 understand, in general, orthogonal frequency-division multiplexing as a type of frequency

 division multiplexing where a number of sub-carriers are used to carry data, wherein the data is

 divided into several parallel data streams or channels, one for each sub-carrier. These meanings

 are consistent with the specification of the ‘222 patent.      Wi-LAN’s proposed construction

 conflicts with the well-known meaning of the term multiplexer by redefining “multiplexing” as

 “placing.” The Court finds that “multiplexing” involves more than merely “placing information

 onto.” The Court notes that the term “multiplexing” is used in claim 7 and the parties do not

 attempt to define the word “multiplexing.”       Thus, the Court construes the disputed term

 “wideband frequency division multiplexer” and not the undisputed “multiplexing” term. The

 Court construes the term “wideband frequency division multiplexer for multiplexing the

 information onto wideband frequency channels” to mean “a device that combines the

 information from multiple inputs into a single output for multiplexing the information onto

 wideband frequency channels.”

        In regards to the term “wideband frequency channels,” the parties essentially adopt the

 same construction that is supported by the specification, see ‘222 patent, 6:30-34, with a few


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 notable differences. The Court finds that “wideband frequency channels” means “frequency

 channels with” certain characteristics, and that the Defendants’ proposed construction follows

 the specification more closely than Wi-LAN’s proposal. However, the Court agrees with Wi-

 LAN that K, )f, and BER should be described with more than just symbols or acronyms. In the

 specification K is defined as a “number of points,” Δf is defined as “frequency band,” and BER

 is defined as “bit error probability” or “bit error rate.” ‘222 patent, 1:64-66; 5:26-29; 7:44-46.

 Thus, the Court construes the term “wideband frequency channels” to mean “frequency channels

 with a K (number of points) and a Δf (frequency band) large enough to be able to achieve a

 specific throughput and large enough to be able to avoid using either a clock or a carrier

 recovery device without substantially affecting the BER (bit error rate).”

    5. “points”

     Wi-LAN’s Proposed Construction                   Defendants’ Proposed Construction
  “frequencies”                                “divisions within a frame corresponding to one
                                               information symbol each”

        The relevant language in claim 7 of the ‘222 patent is as follows: “the frequency band is

 formed from a first set of K1 points and a pair of tail slots each having K2 points, each of the

 points being separated by a frequency range of )f.” Claim 7 also states that “the frequency

 band” is that upon which information is multiplexed. The specification expressly defines that the

 entire available bandwidth B is divided into a number of points K, where adjacent points are

 separated by a frequency band, )f. See ‘222 patent, 5:26-31; 17:17-22. The available bandwidth

 B is the product of a number of points K multiplied by a frequency band Δf, that is B=KΔf. Id.

 The K points are grouped into a frame of K1 points and two tail slots of K2 points each, so that

 K = K1 + K2. Id. Thus, based upon Figure 2 and the corresponding specification, it is clear that


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 the points are located within the bandwidth, that there can be K1 points or K2 points, and that K1

 points are located in the frame and K2 points are located outside the frame but still in the

 available bandwidth. See id. and FIG. 2. The Court finds that “points” does not equate to merely

 “frequencies” as Wi-LAN suggests. However, the Court finds that points can exist in the frame

 and outside the frame in the tail slots, and thus disagrees with Defendants’ proposed construction

 that points means “divisions within a frame.” The specification also expressly states that “each

 point in the frame corresponds to one information symbol.” ‘222 patent, 5:35-36. However,

 because the Court finds that the “tail slots” of K2 points are outside of the frame of information,

 then those K2 points would not necessarily correspond to “an information symbol” based upon

 the specification. Thus, Defendants’ proposed construction including “corresponding to one

 information symbol each” is incorrect. The Court construes the term “points” to mean “divisions

 within the frequency band.”

    6.   “tail slots”

       Wi-LAN’s Proposed Construction                   Defendants’ Proposed Construction
  “groups of frequencies that act as guard bands    “divisions within a frame that act as a guard
  to reduce power outside of the frequency          band”
  band”

         The construction of this term relates to the construction for the term “points.” Claim 7 of

 the ‘222 patent expressly states that “the frequency band is formed from … a pair of tail slots

 each having K2 points.” The specification states that the “two tail slots act as guard bands to

 ensure that the out-of-band signal is below a certain power level.” ‘222 patent, 5:36-38. Both

 parties agree that the tail slots act as a guard band, but disagree as to the remainder of the

 proposed constructions. Based upon Figure 2 and the corresponding specification, it is clear that

 K1 points are located in the frame and K2 points, corresponding to the two tail slots, are located

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 outside the frame but still in the available bandwidth or frequency band. See ‘222 patent, 5:26-

 40, FIG. 2.   Thus, the Court rejects Defendants’ proposed construction that tail slots are

 necessarily “divisions within a frame.” The Court does not find that Wi-LAN’s proposal to

 include the phrase “reduce power outside of the frequency band” is necessary or is entirely based

 upon the specification. Thus, the Court construes the term “tail slots” as “divisions within the

 frequency band that act as guard bands.”

    7. “Where T is the duration of one time domain sample, the information is multiplexed
       over a number M of levels, and K1 selected such that 2πχ/K1 < π/M”

         Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  “T is the duration of one time domain sample,      “T is the duration of one time domain
  the information is multiplexed over a number of    sample equal to 1/(K1Δf), using multilevel
  distinct phases, and K1 selected such that         differential phase shift keying with M levels
  2πχ/K1<π/M”                                        to multiplex the information, where K1 is
                                                     selected such that 2πχ/K1 < π/M”
  No construction necessary for “T is the duration
  of one time domain sample”                       number M of levels:
                                                   “multilevel differential phase shift keying
  number M of levels:                              with M levels”
  “a number of distinct phases”

        The specification states that when “τ [clock error] is equal to χT where T is duration of

 one time domain sample and χ is any real value, the shift [in phase difference] is equal to

 2π)fPT.” ‘222 patent, 5:68-6:2. The parties agreed that the term “χ” means “a real value that

 when multiplied by the duration of one time domain sample provides the maximum expected

 clock error.” “Hence, τ causes a shift in the phase difference between adjacent symbols of value

 2πP/K1 since T is equal to 1/(K1)f).” Id. at 6:2-4. Claim 7 expressly requires that K1 is

 selected such that 2πP/K1 < π/M. The Court finds that the connection between “maximum

 expected clock error” and 2πP/K1 in claim 7 is based upon T being equal to 1/(K1)f). The

 Court rejects Wi-LAN’s argument that no construction is necessary for this phrase. Thus, the

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 Court construes the term “T is the duration of one time domain sample” to mean “T is the

 duration of one time domain sample equal to 1/(K1)f).”

        The term “M” is referenced twice in claim 7: “the information is multiplexed over a

 number M of levels” and “K1 selected such that 2πP/K1 < π/M.” The specification provides that

 “M is the number of levels each symbol can take.” ‘222 patent, 5:44-46. The specification

 further provides that “let us assume that MDPSK is used in an OFDM system with the number M

 of levels.” Id. at 6:34-36. Still further, the specification provides that it is a “necessary condition

 for wideband OFDM” that K1 is selected so that 2πχ/K1 < π/M. Id. at 7:3-7. The Court finds

 that the specification expressly defines 2πP/K1 as the “phase difference between adjacent

 symbols.” The Court finds that this is a well-known reference to “phase differential” used in

 differential modulation and the phrase “2πχ/K1” as understood by the specification and claims

 would only be relevant in a system using differential modulation. The Court finds that the

 number of “levels” does not necessarily equal the number of “phases.” Thus, the Court rejects

 Wi-LAN’s proposed construction that equates “number M of levels” with merely “number of

 distinct phases.” While the specification provides an example that uses “a number M of levels”

 in the context of multilevel differential phase shift keying (MDPSK), such a use is only a

 preferred embodiment and is not a necessary limitation to the term. See ‘222 patent, 5:31–35,

 6:34–46. One of ordinary skill in the art would understand that the “number of M levels” can

 apply to various types of differential modulation techniques, such as QAM or MDPSK. The

 Court construes the term “the information is multiplexed over a number M of levels” to mean

 “the information is multiplexed over a number M of levels, where M is the number of levels each

 symbol can take using differential modulation.”


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    8. “carrier [recovery]” and “clock recovery”

       Wi-LAN’s Proposed Construction                   Defendants’ Proposed Construction
  carrier [recovery]:                              carrier [recovery]:
  “synchronizing the local oscillator to the       “recovery of the carrier signal”
  carrier frequency of the received signal”

  clock recovery:                                  clock recovery:
  “synchronizing the sampling clock to the         “recovery of the clock”
  timing of the received signal”

        Claim 7 requires that “the width of the frequency band is chosen so that neither carrier

 nor clock recovery is required at the second transceiver.” The terms “carrier” and “clock

 recovery” are also used in the construction of the term “wideband frequency channels” in claim

 1. Defendants argue that the claim language uses carrier and clock recovery generally and does

 not limit those terms to any particular known technique. Wi-LAN argues that the terms are

 limited to a particular technique that is implicitly defined in the context of the prior art receiver

 shown in FIG. 1b.

        There are numerous references to clock and carrier recovery in the specification and not

 one instance restricts the types of clock or carrier recovery that should be avoided. See ‘222

 patent, 2:19-24; 4:55-63; 6:30–33; 6:46-50; 12:45-50; 13:5-7; 13:17-19; Figure 1b.              The

 specification provides only that the use, in general, of “clock recovery” and “carrier recovery” is

 not required by the present invention. It does not provide that certain specific techniques or

 methods of “clock recovery” or “carrier recovery” are not required. The Court finds that the

 terms should not be limited to a particular embodiment or method, particularly when the claims

 and specification do not support such a limited interpretation. Thus, the Court rejects Wi-LAN’s

 proposed constructions and finds that they are an attempt to improperly restrict those terms to

 only one of the many ways of performing the clock or carrier recovery that were well-known at

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 the time the application leading to the ’222 patent was filed. The Court finds, however, that

 Defendants merely rephrase and rearrange the terms to be construed, and such a construction is

 not helpful in this instance.

         One of skill in the art would understand the term “carrier recovery” to generally mean the

 process of extracting a phase-coherent reference carrier from a received carrier waveform or

 providing an estimate of the carrier phase from the received signal. One of skill in the art would

 understand the term “clock recovery” to generally mean the process of determining the clock of

 the received signal or recovering clocking information from the received data. Thus, both clock

 and carrier recovery derive the carrier phase and clock, respectively, from the information-

 bearing signal. The Court construes the term “carrier recovery” to mean “process of determining

 the carrier phase of the received signal.” The Court construes the term “clock recovery” to

 mean “process of determining the clock of the received signal.”

     9. “out of band signal”

         Dependent claim 9 provides that “K2 is selected so that the out of band signal is less than

 a given level.” Subsequent to the parties’ briefing and argument on this term, the parties have

 agreed by letter to the Court, dated April 7, 2010, that the term “out of band signal” means

 “power outside the frequency band.” However, Defendants still argue that claim 9 is invalid for

 failing to meet 35 U.S.C. § 112. The Defendants do not argue that “out of band signal” is

 indefinite, but that the subsequent phrase “less than a given level” is indefinite. It appears that

 Defendants did not contend that “less than a given level” needed to be construed, or that the

 specific phrase was indefinite, until the Defendants’ responsive claim construction brief. Thus,




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 Wi-LAN did not provide any proposed construction for the term and instead argued that the term

 “out of band signal” was not indefinite and had a particular meaning.

        The Court finds that the phrase “less than a given level” is not indefinite. A claim is

 indefinite only if the “claim is insolubly ambiguous, and no narrowing construction can properly

 be adopted.” Exxon, 265 F.3d at 1375; Honeywell, 341 F.3d at 1338-39. This term is not

 “insolubly ambiguous” so as to prevent construction. See Young, 492 F.3d at 1346 (claims are

 considered indefinite when they are “not amenable to construction or are insolubly ambiguous”).

 The specification contains examples from which one of ordinary skill in the art could determine

 the scope of the claim. For example, the “two tail slots act as guard bands to ensure that the out-

 of-band signal is below a certain power level” and “to ensure that the out-of-band signal is ydB

 or less relative to the in-band signal…” ‘222 patent, 5:36-44; 6:46-48. The specification then

 provides an explicit example of what, in a particular instance, the “less than a given level” should

 be: “[t]he two tail slots of 195.3 KHz each (i.e. 8 points each) ensure that the signal outside the

 entire band of 100.39 MHz is below -50 dB.” ‘222 patent, 7:57-60. In addition, the specification

 teaches that “to allow use of the radio frequency spectrum…the system must satisfy federal

 regulations…[that] impose limits on the power and the frequency spread of the signals

 exchanged…” ‘222 patent, 1:50-54. The Court finds that there is sufficient guidance in the

 specification as to the meaning of “less than a given level” to one of ordinary skill in the art. See

 Exxon, 265 F.3d at 1375 (“If the meaning of the claim is discernible, even though the task may

 be formidable and the conclusion may be one over which reasonable persons will disagree, we

 have held the claim sufficiently clear to avoid invalidity on indefiniteness grounds.”) The Court

 rejects Defendants’ argument that because the “level” in the claim is unspecified, no meaningful


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 bound is placed on the patent claim. Consistent with the parties’ agreement, the Court construes

 the term “out of band signal” to mean “power outside the frequency band.” The Court finds that

 the term “less than a given level” is not indefinite. The Court construes the term “less than a

 given level” to mean “less than a given power level to satisfy federal regulations.”

 VI.        TERMS IN DISPUTE OF THE ‘802 PATENT

       1.   “transceiver”

      Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  “a two-way radio unit”                         “link”


            Wi-LAN’s construction for the term “transceiver” in the ’802 patent is the same as its

 construction for “transceiver” in the ’222 patent, while Defendants propose a construction that is

 different from their construction for the ’222 patent. The ‘802 patent references a “transceiver”

 only a few times in the specification. In one instance, the specification provides that “we allow a

 single link (i.e., a single transceiver) to use more than one code at the time same.” ‘802 patent,

 2:3-5. The Court rejects Defendants’ argument that this reference unequivocally limits the term

 “transceiver” to a “link.” Rather, the Court finds that this portion of the specification provides

 that a transceiver can be an example of a link. The Court finds that there is nothing in the

 specification or claims that would limit the term “transceiver” to anything other than its ordinary

 meaning to one of skill in the art.        Thus, consistent with its construction for the term

 “transceiver” in the ‘222 patent, the Court construes the term “transceiver” as “a device that

 transmits and receives data.”




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    2. “invertible randomized spreading”

   Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  Invertible randomized spreading:         Invertible randomized spreading:
  “spreading and applying complex
  constants chosen randomly, in a          Defendants’ proposal
  manner that is invertible”               “spreading using an invertible randomized transform”

  spreading:                               LG Electronics’ proposal:
  “modulating data symbols by codes of     “spreading using an invertible randomizer transform”
  larger bandwidth”
                                           spreading:
  Alternative for spreading:               “distributing information bits over code chips thereby
  “modulating data symbols by codes        reducing the effective bandwidth”
  having multiple chips”

        A. Spreading

        The independent claims of the ‘802 patent, in general, require operating on the plural sets

 of N data symbols to produce modulated data symbols corresponding to a spreading or an

 invertible randomized spreading of each set of N data symbols. The specification has numerous

 references to “spread” or “spreading.” “The invention deals with the field of multiple access

 communications using Spread Spectrum modulation.” ‘802 patent, 1:14-15. “Spread Spectrum

 can be classified as Direct Sequence, Frequency-Hopping or a combination of the two.” Id. at

 1:18-19. “Commonly used spread spectrum techniques are Direct Sequence Spread Spectrum

 (DSSS) and Code Division Multiple Access (CDMA) . . .” Id. at 1:21-23. In the Background

 section, the specification provides that “DSSS is a communication scheme in which information

 bits are spread over code bits (generally called chips),” and then provides certain advantages of

 this “information spreading.” Id. at 1:25-45. “In this patent, we present Multi-Code Direct

 Sequence Spread Spectrum (MC-DSSS) which is a modulation scheme that assigns up to N

 DSSS codes to an individual transceiver where N is the number of chips per DSSS code.” Id. at


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 2:6-10; Abstract.   In the Detailed Description section, the specification provides that the

 computing means “operates on the plural sets of N data symbols to produce modulated data

 symbols corresponding to an invertible randomized spreading of the stream of data symbols.”

 Id. at 4:2-5. The computing means “includes a source 16 of N direct sequence spread spectrum

 code symbols and a modulator 18 to modulate each ith data symbol from each set of N data

 symbols with the I code symbol from the N code symbol to generate N modulated data symbols,

 and thereby spread each I data symbol over a separate code symbol.” Id. at 4:7-13.

        The Court finds that spreading is typically understood to one of ordinary skill in the art as

 enlarging a signal of a particular bandwidth via a code that results in a signal with a wider

 bandwidth. Various dictionary definitions illustrate that in spread spectrum systems information

 content is spread over a wider bandwidth than the content of the original information to create a

 spread signal that has greater bandwidth than the original signal. As part of its intrinsic record,

 the ‘802 patent cites an authoritative text, the Proakis reference, that explains that spread

 spectrum signals have an expanded bandwidth. ‘802 patent, 1:22-32. Prior art cited during the

 prosecution of the ‘802 patent states that “[i]t is well known that spread spectrum techniques

 utilize bandwidths many times wider than those required by the data in transit” and that the basic

 data to be transmitted “is spread over a wider bandwidth than that occupied by the data alone.”

 Further, inventor Fattouche wrote an article that confirmed that all spread spectrum techniques

 use a “pseudo-random sequence to spread the spectrum of the data signal to be transmitted . . .

 thereby widening the spectrum of the data signal.”

        In light of the substantial evidence that one of ordinary skill in the art would view the

 term “spreading” to necessarily include widening the bandwidth of a signal, and when there is


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 nothing in the specification that clearly indicates that the term spreading should have a different

 meaning, the Court rejects Wi-LAN’s arguments that the term should be merely “modulating

 data symbols by codes of larger bandwidth.” While modulating and spreading may be related,

 the Court finds that spreading does not necessarily mean modulating. The specification and

 claims of the ‘802 patent do not equate those terms. For example, the specification provides that

 the computing means includes a modulator to modulate data symbols to generate N modulated

 data symbols, thereby spreading each I data symbol over a separate code symbol. ‘802 patent,

 4:7-12. Contrary to Wi-LAN’s arguments, the specification does not say thereby “modulating”

 each data symbol over a separate code symbol. See id. The Court finds that the use of the term

 “spreading” in the specification and the claims does not change the well-known definition of

 spreading. Thus, the Court finds that there is no evidence in the specification that the applicants

 intended to provide “spreading” with a special meaning different from its ordinary meaning.

        The specification provides that “DSSS is a communication scheme in which information

 bits are spread over code bits (generally called chips).” ’802 patent, 1:25-27. However, the

 claims require “data symbols,” consistent with Wi-LAN’s proposal, not “information bits” as

 proposed by the Defendants. The Court is not convinced that the definition of spreading should

 include the limitation of “thereby reducing the effective bandwidth” rather than the well-known

 understanding that spreading is used “to create a wider bandwidth.” The Court finds that the

 ordinary meaning of the term “spread” is to distribute over a greater area of space or time, to

 extend or distribute over a region, to scatter, to stretch or extend over a greater area. Thus, the

 Court construes the term “spreading” to mean “distributing data symbols over codes to create a

 wider bandwidth of data symbols.”


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        B. Invertible Randomized Spreading

        The independent claims, in general, require operating on the plural sets of N data symbols

 to produce modulated data symbols corresponding to a spreading or an invertible randomized

 spreading of each set of N data symbols. Thus, the “invertible randomized” term modifies

 “spreading.” In the Detailed Description section, the specification provides that the computing

 means “operates on the plural sets of N data symbols to produce modulated data symbols

 corresponding to an invertible randomized spreading of the stream of data symbols.” ‘802

 patent, 4:2-5.   The specification also provides that Figure 8 is a “schematic showing the

 Randomizer Transform (RT) where a(1) a(2) … a(N) are complex constants chosen randomly.”

 Id. at 3:12-14. Claim 19 provides that the “direct sequence spread spectrum codes are generated

 by operation of plural non-trivial transforms on a random sequence of input signals.” The

 prosecution history of the ‘802 patent is enlightening. In a Response to an Office Action, the

 applicants stated that the “key here is the randomization of the transformation.” August 28, 1995

 Amendment and Response to Office Action, p. 15. “With randomized spreading, it is less likely

 that a pulse will be generated.” Id. at p. 16. The applicants provided the following response to

 another Office Action:

        It is well known in the art that a randomizer transform … actually does not
        generate a perfectly randomized signal, which is impossible, but a near
        approximation to it, in other words a pseudo-random signal. In fact, it is believed
        to be well known in the art, and this is the meaning in each of the claims in this
        application for patent, … that when the term “randomizer,” “randomized,” or
        “randomizing” is used in relation to a spreading or transform of a signal, then it is
        a “pseudo-randomizer,” “pseudo-randomized,” or “pseudo-randomizing”
        spreading or transform that is being referred to. The fact that the transform is in
        each case invertible, means that the transform is known beforehand and a signal
        encoded by use of the transform can be decoded using the inverse transform.

 February 12, 1996 Response to Office Action, pp. 1-2. The Court finds that, based upon the

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 specification, the claims, and the prosecution history, that one of ordinary skill in the art would

 find that proper codes perform an invertible randomized spreading of the information sequence

 or stream of data symbols. Further, the Court finds that, at least in the context of spread

 spectrum techniques, the randomized spreading of a signal is not a perfect randomization of the

 signal, but only a pseudo-randomization. Thus, “[a]ny one of the P N-point transforms in FIG. 3

 consists of a reversible transform to the extent of the available arithmetic precision.” ‘802

 patent, 4:29-32. The invertible randomized spreading of a signal is only invertible to the extent

 of the available arithmetic precision. See id. According to the claim language, the phrase

 “invertible randomized spreading” requires that the spreading be both “invertible” and

 “randomized.”

        Neither of the parties’ proposed constructions is particularly helpful.        Defendants’

 proposals merely rearrange the words of the term to be construed and improperly limit the

 spreading to a particular type of transform where the claim language does not specifically require

 the use of a transform.     On the other hand, Wi-LAN attempts to limit the definition of

 “randomized” to “applying complex constants chosen randomly” without clear support in the

 specification that the term should be so limited. The Court finds that the only reference to

 “complex constants” in the ‘802 patent is in the context of the Randomizer Transform shown in

 Figure 8 and that Wi-LAN’s proposed construction decouples the application of “complex

 constants chosen randomly” from the use of a transform in a specific instance and improperly

 applies the reference to the generic definition of “randomized.” The ordinary meaning of the

 terms “invert” or “invertible” means to turn upside down, to reverse in position or order, to turn

 or change to the opposite or contrary, or to turn inward or back upon itself. Based upon the


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 specification, the claims, and the prosecution history, one of ordinary skill in the art would find

 that the term “invertible” means “reversible.” The Court finds that the ordinary meaning of the

 term “randomize” is to order or select in a random manner or to make random. Based upon the

 specification, the claims, and the prosecution history, one of ordinary skill in the art would find

 that the term “randomized” means “pseudo-randomized.” Thus, the Court construes the term

 “invertible randomized spreading” to mean “spreading that is reversible and pseudo-

 randomized.”

    3. “direct sequence spread spectrum codes”

     Wi-LAN’s Proposed Construction                 Defendants’ Proposed Construction
  “codes over which information bits are      “pseudo random noise sequences over which
  spread”                                     information bits are spread”

        The parties’ constructions are in agreement with respect to the phrase “over which

 information bits are spread.” Thus, the dispute turns on whether the term ”direct sequence

 spread spectrum codes” should be construed as “codes …” as Wi-LAN proposes or “pseudo

 random noise sequences …” as the Defendants propose.

        The Court finds that the specification and the claims provide for various kinds of

 “codes.” Certain claims, such as independent claims 17, 23, and 33, require “more than one and

 up to M direct sequence spread spectrum codes.” On the other hand, claims 1, 4, and 12 just

 require “more than one and up to M codes.” Thus, some claims require the more limited “direct

 sequence spread codes” while others merely require the broader “codes.” The Court finds this

 difference in the claim language is controlling in this instance. Further, the Court finds that the

 applicant made the decision to claim these “different” codes in the claims during the reissue

 application.   For example, during the prosecution of the reissue application, the applicants


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 amended the phrase “spreading of each ith data symbol over a separate code symbol” in claim 4

 to the phrase “spreading of each data symbol over a separate code selected from a set of more

 than one and up to M codes, …” In contrast, during the prosecution of the reissue application,

 the applicants amended the phrase “invertible randomized spreading of each set of N data

 symbols over N code symbols” in claim 17 to the phrase “invertible randomized spreading of

 each set of N data symbols over more than one and up to M direct sequence spread spectrum

 codes.” See also reissue amendments in claim 12 as compared to claim 21. Thus, the Court

 finds that the applicants made a choice to claim “M codes” in some claims and to claim “M

 direct sequence spread spectrum codes” in other claims. The Court cannot ignore this different

 terminology in the claims.

        The specification confirms this different use of terminology. The specification states that

 in a direct sequence spread spectrum (DSSS) system it is customary to use noise-like codes

 called pseudo random noise (PN) sequences. ‘802 patent, 1:27-30. In the descriptions of Figures

 1 and 2 the spreading code is described as the “ith code.”          ‘802 patent, 2:36-45.     The

 specification states that the computing means shown in Figure 1 includes “a source 16 of N

 direct sequence spread spectrum code symbols.” ‘802 patent, 4:8-9. In the descriptions of

 Figures 13, 14, 17, and 18, the code is described as the “DSSS code.” ‘802 patent, 3:29-37;

 3:47-54. Referencing Figures 13, 14, 17, and 18, the specification uses the term PN code in

 relation to the referenced DSSS codes. The specification also states that “[i]n this patent, we

 introduce new codes, which we refer to as ‘MC’ codes,” and then generally describes some

 advantages of using the “MC codes.” ‘802 patent, 2:15-33. Figure 3 “is a schematic showing of

 the ith MC code c(i).” ‘802 patent, 2:54-55. The specification further states that Figure 3


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 “illustrates the code generator of the MC codes.” ‘802 patent, 2:29-34. Figures 4 and 5 describe

 an alternate transmitter and receiver “using MC codes generated in Figure 3.” ‘802 patent, 2:58-

 67. The specification further confirms that the transmitter and receiver illustrated in Figures 4

 and 5 use the “MC codes” generated using the code generator in Figure 3. ‘802 patent, 4:35-46.

 Thus, the Court finds that the specification and the claims provide for various kinds of “codes.”

        Defendants have provided ample evidence in the form of dictionary definitions, treatises,

 and expert opinion that the term “direct sequence spread spectrum code” had a well-known

 meaning at the time the application leading to the ‘802 patent was filed. The Court finds that one

 of ordinary skill in the art would consider that the codes used in a DSSS system would have

 noise-like properties or would be a pseudo-random code sequence. Further, as part of its

 intrinsic record the ‘802 patent cites an authoritative text, the Proakis reference, that explains that

 pseudo-random or pseudo-noise sequences are basic elements of spread spectrum systems. ‘802

 patent, 1:22-32. Still further, inventor Fattouche wrote an article that confirmed that “[a]ll

 spread spectrum techniques use a repeating pseudo-random sequence to spread the spectrum of

 the data signal to be transmitted” and that the data signal is multiplied by a “pseudo-random code

 sequence.” In light of the substantial evidence that one of ordinary skill in the art would view

 the term “direct sequence spread spectrum code” to be a pseudo random code or noise sequence,

 and when there is nothing in the specification that clearly indicates that the term direct sequence

 spread spectrum code should have a different meaning, the Court rejects Wi-LAN’s arguments

 that “direct sequence spread spectrum codes” should not be pseudo-random. The Court finds

 that the specification’s use of the term “MC codes” does not change the well-known definition of

 DSSS codes, particularly when the specification and claims refer to different types of codes.


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        The specification provides that “DSSS is a communication scheme in which information

 bits are spread over code bits (generally called chips).” ’802 patent, 1:25-27. Both parties agree

 that the codes are those “over which information bits are spread.” Thus, the Court construes the

 term “direct sequence spread spectrum codes” as “pseudo random codes over which information

 bits are spread.”

    4. “converter for converting”

                                                                     Defendants’ Proposed
            Wi-LAN’s Proposed Construction
                                                                         Construction
  converter: “a device that accepts data in one form or        This element should be construed in
  mode and changes it to another”                              accordance with 35 U.S.C. §
                                                               112(6).
  Alternatively, should the Court construe this element
  pursuant to 35 U.S.C. § 112(6):                              Agreed Function: “converting the
                                                               first stream of data symbols into
  Agreed Function: “converting the first stream of data        plural sets of N data symbols each”
  symbols into plural sets of N data symbols each”
                                                               Structure: Fig. 1 (item 10), Fig. 4
  Structure: i) element 10 in Fig. 1 including                 (item 10), and col. 4:1-2
  corresponding descriptions in the specification (col. 4:1-
  2 and 2:36-40); ii) element 10 in Fig. 4 including
  corresponding descriptions in the specification (col. 4:1-
  2 and 2:58-62); and equivalents thereof.

        The parties dispute whether the “converter” terms should be construed under 35 U.S.C. §

 112 ¶ 6, and if so, further dispute the corresponding structure. The Court finds that, because the

 claim element “converter for converting…” does not use the word “means,” there is a rebuttable

 presumption that § 112, ¶ 6 does not apply. MIT, 462 F.3d at 1353-54. The Court finds that the

 Defendants have not met their burden to rebut the presumption. One of ordinary skill in the art

 would understand the term “converter” to recite sufficient structure and to have a reasonably well

 understood meaning. The term is not “simply a nonce word or a verbal construct that is not

 recognized as the name of structure.”        See Lighting World, 382 F.3d at 1359-60.          The

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 specification of the ‘802 patent describes the capabilities and uses of the converter. See ‘802

 patent, 4:1-2; see also FIG. 1 (item 10). Wi-LAN has presented dictionary definitions for the

 term “converter” to mean “a device that accepts data in one form and converts it to another” and

 “a device capable of converter impulses from one mode to another, such as analog to digital,

 parallel to serial, or from one code to another.” Consistent with these dictionary definitions, the

 Court finds that a person of ordinary skill understands that a “converter” has a generally

 understood structural meaning that, in general, means a device that accepts data in one form or

 mode and changes it to another. The claims expressly require that the converter convert a stream

 of data symbols into plural sets of data symbols. Consistent with the claims, Figure 1 of the ‘802

 patent shows that the converter is a serial-to-parallel converter.     The Court notes that the

 Defendants have not provided an alternative construction, and have not argued against Wi-

 LAN’s proposed construction, if the term is not construed under § 112, ¶ 6. Thus, the Court

 construes the term “converter” to mean “a device that accepts data symbols in one form or mode

 and changes the data symbols to another form or mode.”




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    5. “first computing means”

                                   Wi-LAN’s Proposed                  Defendants’ Proposed
     Claim Language
                                       Construction                         Construction
 1…first computing means Agreed Function: “operating            Agreed Function: “operating on
 for operating on the plural on the plural sets of N data       the plural sets of N data symbols
 sets of N data symbols to   symbols to produce modulated       to produce modulated data
 produce modulated data      data symbols corresponding to      symbols corresponding to an
 symbols corresponding to an invertible randomized              invertible randomized spreading
 an invertible randomized    spreading of the first stream of   of the first stream of data
 spreading of the first      data symbols”                      symbols”
 stream of data symbols;
 and                                                            Structure: fig. 1 (item 12), fig. 4
                             Structure: i) element 12 in        (item 12), and cols. 2:6-10, 2:36-
                             FIG. 1 including                   40, 2:58-62, 4:2-12, 4:35-44
                             corresponding descriptions in
                             the specification (col. 2:6-10,    Alternate Structure:
                             2:36-40, 4:2-12 and 4:35-38);      LG Electronics cites additional
                             ii) element 12 in FIG. 4           structure: fig. 3 and cols. 2:54-57;
                             including corresponding            4:29-39; 4:66-5:7.
                             descriptions in the
                             specification (col. 2:6-10,        LG Electronics contends that fig.
                             2:58-62, 4:39-44, and 4:66-        4 (item 12) and related
                             5:12); iii) a computing device     description at cols. 2:58-62 and
                             programmed to perform the          4:39-44 cannot be supporting
                             algorithms disclosed by the        structure because fig. 4 does not
                             foregoing; and equivalents         show spreading.
                             thereof.
 17….first computing         Agreed Function: “operating        Agreed Function: “operating on
 means for operating on      on the plural sets of N data       the plural sets of N data symbols
 the plural sets of N data   symbols to produce sets of         to produce sets of modulated data
 symbols to produce sets of modulated data symbols              symbols corresponding to an
 modulated data symbols      corresponding to an invertible     invertible randomized spreading
 corresponding to an         randomized spreading of each       of each set of N data symbols
 invertible randomized       set of N data symbols over         over more than one and up to M
 spreading of each set of N more than one and up to M           direct sequence spread spectrum
 data symbols over more      direct sequence spread             codes”
 than one and up to M        spectrum codes”
 direct sequence spread                                         Same structure as above
 spectrum codes;             Same structure as above




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 33…first computing           Agreed Function: “operating        Agreed Function: “operating on
 means for operating on       on the plural sets of data         the plural sets of data symbols to
 the plural sets of data      symbols to produce modulated       produce modulated data symbols
 symbols to produce           data symbols corresponding to      corresponding to an invertible
 modulated data symbols       an invertible randomized           randomized spreading of the first
 corresponding to an          spreading of the first stream of   stream of data symbols over more
 invertible randomized        data symbols over more than        than one and up to M direct
 spreading of the first       one and up to M direct             sequence spread spectrum codes,
 stream of data symbols       sequence spread spectrum           where each direct sequence
 over more than one and up    codes, where each direct           spread spectrum code has M
 to M direct sequence         sequence spread spectrum code      chips”
 spread spectrum codes,       has M chips”
 where each direct                                               Invalid for failure to comply with
 sequence spread spectrum     Same structure as above            35 U.S.C. §112, if M does not
 code has M chips;                                               equal N.

                                                                 Alternatively, same structure as
                                                                 above

        A. Construction under 35 U.S.C. § 112 ¶ 6

        The parties have agreed, and the Court concludes, that this term is a means-plus-function

 limitation. Next, the Court must construe the function of the means-plus-function limitation.

 See Micro Chem., 194 F.3d at 1258. The parties have agreed to the claimed functions of the

 “first computing means” limitations of claims 1, 17, and 33. Thus, the Court adopts the parties’

 agreed upon functions for the “first computing means” limitations in claims 1, 17, and 33. The

 Court must next construe the corresponding structure. See Micro Chem., 194 F.3d at 1258.

        The specification clearly identifies the first computing means (item 12) of Figure 1 to the

 claimed “invertible randomized spreading” function. See ‘802 patent, 4:2-12. All of the parties

 agree that the corresponding structure for the “first computing means” includes element 12 of

 Figure 1 and columns 2:6–10, 2:36–40, and 4:2–12. The parties dispute whether Figures 3 and 4

 and their corresponding descriptions are corresponding structures for the “first computing

 means” limitation. The “structure disclosed in the specification is ‘corresponding’ structure only

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 if the specification or prosecution history clearly links or associates that structure to the function

 recited in the claim.” See Medical Instrumentation, 344 F.3d at 1210. The Court finds that one

 of skill in the art would not find that the patentee clearly linked or associated the structure recited

 in Figure 3 with the claimed function for the “first computing means” limitation. The Court

 finds that code generation is not part of the claimed function. Figure 3 is related to the code

 generator of the MC codes which is not referenced in Figure 1 or directly linked to the “first

 computing means 12.” See ‘802 patent, 4:2-12; 4:29-34; Figure 1. At best, the Court finds that

 the code generator of Figure 3 generates codes that may be used by the first computing means,

 not that it is a corresponding structure for the “first computing means” function. Further,

 columns 4:66-5:12 relate more to how the random codes are generated rather than the “first

 computing means” using the random codes. The specification clearly links only the computing

 means element 12 in Figures 1 and 4 to the claimed function, not the code generator in Figure 3.

 Thus, the Court rejects the contentions that Figure 3 and columns 2:54-57, 4:29-34, and 4:66-

 5:12 is corresponding structure for the claimed function. Regarding Figure 4, Defendant LG

 Electronics argues that Figure 4 is not corresponding structure because it does not produce

 invertible randomized spreading. The remaining Defendants and Wi-LAN argue that Figure 4 is

 corresponding structure because computing means is identified as item 12 in Figure 1 and Figure

 4 has an item 12 that arguably corresponds to the computing means of Figure 1.                    The

 specification states that one can use the transmitter in Figure 1 with the MC codes generated

 using the code generator in Figure 3 to implement MC-DSSS using the MC codes. ‘802 patent,

 4:35-38. The specification further states that “[a]n alternative transmitter to the one in Figure 1

 using the MC codes in Figure 3 is shown in Figure 4.” ‘802 patent, 4:38-39. Certain dependent


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 claims and the specification provide that the transformer 20 is included in the means for

 computing element 12 of Figure 4, which operates on the set of data symbols to generate

 modulated data symbols as output corresponding to a spreading of the data symbols. See ‘802

 patent, 4:35-44; claims 4, 20. Thus, the claims specifically contemplate structures from both

 Figures 1 and 4 as the corresponding structure for the claimed function. The Court finds that one

 of ordinary skill in the art would consider element 12 of Figure 4 and the corresponding

 description in the specification as corresponding structure to the “first computing means”

 limitation.

        The Court rejects Defendant LG Electronics’ argument that the term is indefinite because

 the ‘802 patent fails to disclose the algorithm required for the “first computing means” to carry

 out the recited function. The Court finds that one of ordinary skill would find the specification to

 disclose the necessary algorithms based on the corresponding structure to perform the function

 for the “first computing means.” The Court also rejects Wi-LAN’s broad proposal to include as

 additional corresponding structure “a computing device programmed to perform the algorithms

 disclosed by the foregoing.” Wi-LAN provides no support in the specification for this additional

 statement. However, 35 U.S.C. § 112 ¶ 6 provides that the corresponding structure can include

 “equivalents thereof.”    Thus, the Court finds that one of ordinary skill in the art would

 understand that the corresponding structure for the “first computing means” limitation in claims

 1, 17, and 33 includes only “element 12 of Figures 1 and 4, columns 2:6–10, 2:36–40, 2:58–62,

 4:2–12, and 4:35-44, and equivalents thereof.”




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        B. Whether Claims 2, 4, 12, and 33 Are Invalid Under 35 U.S.C. § 112 ¶ 6

        Defendants argue that independent claim 33 is invalid for failure to comply with 35

 U.S.C. §112 ¶ 6. In particular, Defendants argue that the claims are invalid for claiming “M”

 chips per code when the only disclosed structure uses “N” chips per code. During reissue,

 applicants amended the functional language of the means-plus-function limitations, deleting

 references to “N” codes having “N” chips per code, and substituting a different limitation

 permitting a different number of codes and chips per code than the N data symbols in each set,

 claiming “up to M codes” having “M” chips per code. The applicants left the specification

 untouched, including the structures corresponding to the claimed functions. The Defendants

 argue that the specification is devoid of any structure corresponding to “M” chips per code, and

 thus unless M equals N, the claims are invalid. Defendants also argue that dependent claims 2, 4

 and 12, discussed in further detail in subsequent sections of this order, are invalid for failure to

 comply with 35 U.S.C. §112 ¶ 6 for these same reasons.

        The specification states that “[i]n this patent, we present Multi-Code Direct Sequence

 Spread Spectrum (MC-DSSS) which is a modulation scheme that assigns up to N codes to an

 individual transceiver where N is the number of chips per DSSS code.” ‘802 patent, Abstract,

 2:6-10. In the specification, the number of data symbols, maximum number of codes, and the

 number of chips per code are all “N.”        During prosecution of the reissue application, the

 inventors made the following representation to the examiner:

        In the claims and detailed description of the original patent, N is the number of
        data symbols in each data set. In the detailed description and in the summary of
        the original patent, N is also used in reference to the number of chips per direct
        sequence spread spectrum code and the maximum number of code. Nevertheless,
        in the summary of the invention (see column 2, lines 206), it is clear that there are
        up to M codes (substituting M for N as stated in the summary), wherein M is the

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        number of chips per code.” Although M equals N in the detailed description
        (which is a possible embodiment of the invention), this is not necessary, as
        indicated at column 2, lines 2-6. M does not have to equal N. M is constrained
        by the number of chips per code, as illustrated in Figure 3. N, the number of data
        symbols per set of data symbols, is not constrained. Unfortunately, the lack of
        clarity from using ‘N’ in reference to both the number of data symbols and
        number of codes was erroneously perpetuated in a number of the claims, which
        this reissue application seeks to correct.

 September 8, 1998, Combined Declaration and Power of Attorney for Reissue Patent

 Application, p. 2. The Court agrees with the representations made by the inventors and the

 arguments presented by Wi-LAN. The Court finds that M need not equal N, and conversely, the

 Court is not convinced that M cannot be a different number than N. While the specification

 provides an example where M is equal to N, resulting in N data symbols and N codes with N

 chips per code, the specification never states that the number of data symbols (N) must equal the

 number of codes or chips per code (M). Rather, the Court finds that the constraint in the

 specification is equating the number of codes to the number of chips per code. See ‘802 patent,

 Abstract, 2:6-10. The claims of the ‘802 patent specifically provide that the number of codes is

 more than one and up to M codes, where M is the number of chips per code. Thus, the Court

 finds that the claims apply the appropriate constraints of the specification. The Court finds that

 changing N to M for certain terms is not an impermissible broadening of the claims during

 reissue. Thus, the Court rejects Defendants’ arguments that claims 2, 4, 12, and 33 reciting the

 term “M” are invalid if M does not equal N.




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    6. “means to combine the modulated data symbols for transmission”

        Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  Agreed Function: “combine the modulated             Agreed Function: “to combine the
  data symbols for transmission”                      modulated data symbols for transmission”

  Structure: i) element 14 in FIG. 1 including        Structure: fig. 1 (item 14), fig. 4 (item 14),
  corresponding descriptions in the specification     and col. 4:5-7
  (col. 4:5-7 and 2:36-40); ii) element 14 in FIG.
  4 including corresponding descriptions in the       LG Electronics contends that fig. 4 (item
  specification (col. 4:5-7 and 2:58-62); or iii)     14) cannot be supporting structure because
  element 20 in FIG. 4 including corresponding        fig. 4 does not show spreading
  descriptions in the specification (col. 4:39-44
  and 4:66-5:12); and equivalents thereof

        The parties have agreed, and the Court concludes, that this term is a means-plus-function

 limitation. Next, the Court must construe the function of the means-plus-function limitation.

 See Micro Chem., 194 F.3d at 1258. The parties have agreed to the claimed function of the

 “means to combine modulated data symbols for transmission” limitations of claims 1, 4, 17, and

 33. Thus, the Court adopts the parties’ agreed upon functions for the “means to combine

 modulated data symbols for transmission” limitations.         The Court must next construe the

 corresponding structure. See Micro Chem., 194 F.3d at 1258.

        The specification identifies the combiner (item 14) of Figure 1 for combining the

 modulated data symbols for transmission. See ‘802 patent, 4:2-12. All of the parties agree that

 the corresponding structure for the “means to combine” limitation includes element 14 of Figure

 1 and columns 4:5-7. Similar to the “first computing means” term, the parties dispute whether

 Figure 4 and its corresponding description are corresponding structures for the limitation. Figure

 4 is an alternative transmitter for Figure 1 that uses the generated MC codes. See ‘802 patent,

 4:29-43. Element 14, the combiner, appears in both Figures 1 and 4. For the same reasons

 previously stated, the Court finds that the specification sufficiently links element 14 of Figure 4

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 as the corresponding structure for the “means to combine” limitation, and therefore rejects

 Defendant LG Electronics arguments to the contrary.            Wi-LAN argues that the general

 descriptions of Figures 1 and 4, columns 2:36-40 and columns 2:58-62, are corresponding

 structures for the “means to combine” limitation. Wi-LAN further argues that element 24 of

 Figure 4 and its corresponding description, i.e., the transformer, is also corresponding structure.

 The “structure disclosed in the specification is ‘corresponding’ structure only if the specification

 or prosecution history clearly links or associates that structure to the function recited in the

 claim.” See Medical Instrumentation, 344 F.3d at 1210. The Court finds that one of skill in the

 art would not find that the patentee clearly linked or associated the general descriptions of

 Figures 1 and 4 with the agreed upon function for the “means to combine” limitation. Thus, the

 Court agrees with the Defendants and finds that the additional passages at column 2:36–40 and

 2:58–62 are not corresponding structure for “means to combine” limitation because they concern

 the transmitters in Figure 1 and 4 as a whole and are neither clearly linked nor necessary to

 performing the claimed function at issue. Further, the Court finds that one of skill in the art

 would not find that the patentee clearly linked or associated element 20 of Figure 4 and its

 related description with the agreed upon function for the “means to combine” limitation. The

 Court finds that the “transformer” element 20 is separate and distinct from the combiner element

 14. The specification provides that the transformer is for operating on or generating modulated

 data symbols, not for combing the modulated data symbols for transmission. ‘802 patent, 4:41-

 44. Further, the claims, in addition to the “means to combine” limitation, separately claim a

 “transformer” that is part of the “first computing means” and not the “means to combine.”

 Likewise, the passage at cols. 4:66–5:12 describes examples of transforms that may be used in


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 connection with Figure 3’s code generator, not the transmitter’s combining function. Thus, the

 Court rejects Wi-LAN’s contentions that element 20 of Figure 4 and columns 2:36-40, 2:58-62,

 4:39-44, and 4:66-5:12 is corresponding structure for the claimed function.

        The Court finds that one of ordinary skill in the art would understand that the

 corresponding structure for the “means to combine the modulated data symbols for transmission”

 limitations in claims 1, 4, 17, and 33 includes only “element 14 of Figures 1 and 4, column 4:5–

 7, and equivalents thereof.”

    7. “means for receiving”

                                                                         Defendants’ Proposed
       Claim Language            Wi-LAN’s Proposed Construction
                                                                               Construction
 10…means for receiving a        Agreed Function: “receiving a          Agreed Function:
 sequence of modulated data      sequence of modulated data             “receiving a sequence of
 symbols, the modulated data     symbols, the modulated data            modulated data symbols,
 symbols having been             symbols having been generated by       the modulated data
 generated by invertible         invertible randomized spreading of a symbols having been
 randomized spreading of a       second stream of data symbols”         generated by invertible
 second stream of data                                                  randomized spreading of
 symbols;                        Structure: i) element 22 in FIG. 2     a second stream of data
                                 including corresponding descriptions symbols”
                                 in the specification (col. 2:41-43 and
                                 4:18-21); ii) the corresponding        Structure: fig. 2 (item
                                 element in Fig. 5 to element 22        22) and col. 4:18-21
                                 (which includes the serial-to-parallel
                                 converter) including corresponding     LG Electronics contends
                                 descriptions in the specification      that fig. 2 (item 22) and
                                 (2:63-64 and 4:18-21); iii) FIG. 20    related description at col.
                                 including corresponding descriptions 4:18-21 do not disclose
                                 in the specification (3:58-60 and      any structure.
                                 6:20-35); and equivalents thereof.




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 17…means for receiving a       Agreed Function: “receiving a          Agreed Function:
 sequence of modulated data     sequence of modulated data             “receiving a sequence of
 symbols, the modulated data    symbols, the modulated data            modulated data symbols,
 symbols having been            symbols having been generated by       the modulated data
 generated by an invertible     invertible randomized spreading of a   symbols having been
 randomized spreading of a      second stream of data symbols over     generated by invertible
 second stream of data          more than one and up to M direct       randomized spreading of
 symbols over more than one     sequence spread spectrum codes”        a second stream of data
 and up to M direct sequence                                           symbols over more than
 spread spectrum codes;         Structure: i) element 22 in FIG. 2     one and up to M direct
                                including corresponding descriptions sequence spread
                                in the specification (col. 2:41-43 and spectrum codes”
                                4:18-21); ii) the corresponding
                                element in Fig. 5 to element 22        Structure: fig. 2 (item
                                (which includes the serial-to-parallel 22) and col. 4:18-21
                                converter) including corresponding
                                descriptions in the specification      LG Electronics contends
                                (2:63-64 and 4:18-21); iii) FIG. 20    that fig. 2 (item 22) and
                                including corresponding descriptions related description at col.
                                in the specification (3:58-60 and      4:18-21 do not disclose
                                6:20-35); and equivalents thereof.     any structure.

        The parties have agreed, and the Court concludes, that this term is a means-plus-function

 limitation. Next, the Court must construe the function of the means-plus-function limitation.

 See Micro Chem., 194 F.3d at 1258. The parties have agreed to the claimed function of the

 “means for receiving” limitations of claims 10, 17, and 34. Thus, the Court adopts the parties’

 agreed upon functions for the “means for receiving” limitations. The Court must next construe

 the corresponding structure. See Micro Chem., 194 F.3d at 1258.

        The specification provides that “[a] sequence of modulated data symbols is received at 22

 in which the sequence of modulated data symbols has been generated by the transmitter such as

 is shown in FIG. 1 or 4.” ‘802 patent, 4:18-21. The parties dispute whether element 22 of

 Figure 5 is corresponding structure for the limitation. Figure 5 is an alternative receiver for

 Figure 2 that uses the generated MC codes. See ‘802 patent, 4:29-46. Element 22, the point at


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 which the transmitted information is received, appears in both Figures 2 and 5. Although there

 are no numerical labels in FIG. 5, one of ordinary skill in the art would find that d’(k) in FIG. 2

 corresponds to d’(k) in FIG. 5. The Court finds that the specification sufficiently links element

 22 of Figures 2 and 5 as the corresponding structure for the “means for receiving” limitation, and

 therefore rejects Defendants’ arguments to the contrary.           Wi-LAN argues that the general

 descriptions of Figures 2 and 5 and columns 2:41-43, 2:63-64 are corresponding structures for

 the “means for receiving” limitations.          Wi-LAN further argues that Figure 24 and its

 corresponding description is also corresponding structure.          The “structure disclosed in the

 specification is ‘corresponding’ structure only if the specification or prosecution history clearly

 links or associates that structure to the function recited in the claim.”              See Medical

 Instrumentation, 344 F.3d at 1210. One of skill in the art would not find that the patentee clearly

 linked or associated the general descriptions of Figures 2 and 5 with the agreed upon function for

 the “means for receiving” limitation. Thus, the Court agrees with the Defendants and finds that

 the additional passages at columns 2:41–43 and 2:63–64 are not corresponding structure for

 “means for receiving” limitation because they concern the receivers in Figures 2 and 5 as a

 whole and are neither clearly linked nor necessary to performing the claimed function at issue.

 Further, one of skill in the art would not find that the patentee clearly linked or associated Figure

 20 and its related description with the agreed upon function for the “means for receiving”

 limitation. The Court finds that Figure 20 relates to a passband modulation technique and is not

 relevant to the means for receiving element 22. See ‘802 patent, 3:58-60; 6:20-27. The Court

 also rejects Defendant LG Electronics’ argument that item 22 of Figure 2 and its related

 description fails to disclose any structure to one of ordinary skill in the art.


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        Thus, the Court finds that one of ordinary skill in the art would understand that the

 corresponding structure for the “means for receiving” limitations in claims 10, 17, and 34

 includes only “element 22 of Figures 2 and 5, column 4:18-21, and equivalents thereof.”

    8. “second computing means”

        Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  Agreed Function: “operating on the sequence        Agreed Function: “operating on the
  of modulated data symbols to produce an            sequence of modulated data symbols to
  estimate of the second stream of data symbols”     produce an estimate of the second stream
                                                     of data symbols”
  Structure: i) element 24 in FIG. 2 including
  corresponding descriptions in the specification   Structure: fig. 2 (item 24) and cols. 2:41-
  (2:41-54 and 4:13-28); ii) the elements of FIG. 5 54, 4:21-28
  between the serial-to-parallel and parallel-to-
  serial converters including corresponding
  descriptions in the specification (2:63-67 and
  4:44-46); or iii) a computing device
  programmed to perform the algorithms disclosed
  in the foregoing; and equivalents thereof.

        The parties have agreed, and the Court concludes, that this term is a means-plus-function

 limitation. Next, the Court must construe the function of the means-plus-function limitation.

 See Micro Chem., 194 F.3d at 1258. The parties have agreed to the claimed function of the

 “means for receiving” limitations of claims 10, 17, and 34. Thus, the Court adopts the parties’

 agreed upon functions for the “second computing means” limitations. The Court must next

 construe the corresponding structure. See Micro Chem., 194 F.3d at 1258.

        The specification provides that “[a] second computing means 24 operates on the sequence

 of modulated data symbols to produce an estimate of the second string of data symbols. The

 computing means 24 shown in FIG. 2 includes a correlator 26 for correlating… ” ‘802 patent,

 4:21-28.   The parties dispute whether the elements of Figure 5 between the converters is

 corresponding structure for the limitation. Figure 5 is an alternative receiver for Figure 2 that

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 uses the generated MC codes. See ‘802 patent, 4:29-46. Although there are no numerical labels

 in FIG. 5, the Court finds that one of ordinary skill in the art would find that the unnumbered

 elements between the serial-to-parallel converter and parallel-to-serial converter in Figure 5

 corresponds to the second computing means 24 in Figure 2. Further, certain dependent claims

 provide that the second computing means comprises an inverse transformer for regenerating an

 estimate of the data symbols, which corresponds to Figure 5. See claims 13, 22, 37. Thus, the

 claims specifically contemplate structures from both Figures 2 and 5 as the corresponding

 structure for the claimed function. The Court finds that the specification sufficiently links these

 elements in Figures 2 and 5 as the corresponding structure for the “second computing means”

 limitation, and therefore rejects Defendants’ arguments to the contrary. Wi-LAN argues that the

 general descriptions of Figures 2 and 5, columns 2:41-54, 2:63-67, and 4:44-46 are

 corresponding structures for the “second computing means” limitations. Wi-LAN further argues

 that “a computing device programmed to perform the algorithms disclosed in the foregoing” is

 also corresponding structure. The “structure disclosed in the specification is ‘corresponding’

 structure only if the specification or prosecution history clearly links or associates that structure

 to the function recited in the claim.” See Medical Instrumentation, 344 F.3d at 1210. The Court

 finds that one of skill in the art would find that the patentee clearly linked or associated the

 descriptions of Figures 2 and 5 with the agreed upon function for the “second computing means”

 limitation. Thus, the Court finds that the additional passages at columns 2:41-54 and 2:63-67 are

 corresponding structures for the “second computing means.” However, the Court agrees with the

 Defendants and finds that the additional passages at columns 4:13–20 and 4:44–46 are not

 corresponding structure for “second computing means” because they concern the receivers in


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 Figures 2 and 5 as a whole and are neither clearly linked nor necessary to performing the claimed

 function at issue.

        The Court rejects Wi-LAN’s broad proposal to include as additional corresponding

 structure “a computing device programmed to perform the algorithms disclosed by the

 foregoing.” Wi-LAN provides no support in the specification for this additional statement.

 However, 35 U.S.C. § 112 ¶ 6 provides that the corresponding structure can include “equivalents

 thereof.” Thus, the Court finds that one of ordinary skill in the art would understand that the

 corresponding structure for the “second computing means” limitations in claims 10, 17, and 34

 includes only “element 24 of Figure 2, the elements of FIG. 5 between the serial-to-parallel and

 parallel-to-serial converters, columns 2:41-54, 2:63-67, 4:21-28, and equivalents thereof.”

    9. “means to combine output from the second computing means”

       Wi-LAN’s Proposed Construction                       Defendants’ Proposed Construction
  Agreed Function: “combine output from the             Agreed Function: “to combine output from
  second computing means”                               the second computing means”

  Structure: parallel to serial converters in           Structure: fig. 2 (parallel-to-serial
  FIGs. 2 and 5 including corresponding                 converter)
  descriptions in the specification (2:41-54 and
  2:63-67); and equivalents thereof.

        The parties have agreed, and the Court concludes, that this term is a means-plus-function

 limitation. Next, the Court must construe the function of the means-plus-function limitation.

 See Micro Chem., 194 F.3d at 1258. The parties have agreed to the claimed function of the

 “means to combine output from the second computing means” limitation of claim 17. Thus, the

 Court adopts the parties’ agreed upon functions for the “means to combine output from the

 second computing means” limitation. The Court must next construe the corresponding structure.

 See Micro Chem., 194 F.3d at 1258.

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        The parties agree that the parallel to serial converter in Figure 2 is corresponding

 structure, but dispute whether the parallel to serial converter in Figure 5 and their corresponding

 descriptions is corresponding structure. The limitation expressly provides that it combines

 output from the second computing means, and is thus related to any structure that corresponds to

 the second computing means. For the reasons previously presented, the Court finds that the

 specification sufficiently links the parallel to serial converters in Figures 2 and 5 as the

 corresponding structure for the “means to combine output from the second computing means”

 limitation, and therefore rejects Defendants’ arguments to the contrary. Further, the Court finds

 that the additional passages at columns 2:41-54 and 2:63-67 are not corresponding structure for

 “means to combine output from the second computing means” because they concern the

 receivers in Figures 2 and 5 as a whole and are neither clearly linked nor necessary to performing

 the claimed function at issue. Thus, the Court finds that one of ordinary skill in the art would

 understand that the corresponding structure for the “means to combine output from the second

 computing means” limitation in claim 17 includes only “the parallel to serial converters in

 Figure 2 and 5, and equivalents thereof.”

    10. “combining the modulated data symbols for transmission”

        Subsequent to the parties’ briefing and argument on this term, the parties have agreed by

 letter to the Court, dated April 7, 2010, that no construction is necessary for this term. The Court

 adopts the parties’ agreement and finds that no construction is necessary for this term.




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    11. “modulator”

       Wi-LAN’s Proposed Construction               Defendants’ Proposed Construction
  “a device that varies one or more of the       invalid for failure to meet 35 U.S.C. § 112
  amplitude, frequency, or phase of each data
  symbol from each set of data symbols in
  accordance with a code from the up to M direct
  sequence spread spectrum codes”

        Claim 2 requires a “modulator to modulate.” The specification provides that “[t]he

 computing means shown in FIG. 1 includes a source 16 of N direct sequence spread spectrum

 code symbols and a modulator 18 to modulate each ith data symbol from each set of N data

 symbols with the I code symbol from the N code symbol to generate N modulated data symbols,

 and thereby spread each I data symbol over a separate code symbol.” ‘802 patent, 4:7-12. While

 Wi-LAN proposes a construction for the term, the Defendants do not provide a proposed

 construction and rather argues that it is invalid. Defendants argue that the “modulator” term in

 claim 2 is indefinite and thus renders claim 2 invalid. Defendants argue that the structure

 corresponding to the computing means function in claim 1 requires that each data symbol in the

 set of N data symbols be spread over a separate code. By amending claim 2 to require spreading

 each set of data symbols over a separate code in the reissue application, Defendants argue that

 the applicants broadened claim 2 beyond the scope of independent claim 1, rendering it invalid.

        The Court rejects Defendants’ arguments. The Court is not convinced that during reissue

 the applicants impermissibly broadened the claim language. Further, it is well settled law that

 claim terms are not necessarily limited to a preferred embodiment. The Court finds that the term

 “modulator” is not indefinite. A claim is indefinite only if the “claim is insolubly ambiguous,

 and no narrowing construction can properly be adopted.” Exxon, 265 F.3d at 1375; Honeywell,

 341 F.3d at 1338-39. This term is not “insolubly ambiguous” so as to prevent construction. See

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 Young, 492 F.3d at 1346 (claims are considered indefinite when they are “not amenable to

 construction or are insolubly ambiguous”). The specification contains examples from which one

 of ordinary skill in the art could determine the scope of the claim. See ‘802 patent, 4:7-12;

 Figure 1 (item 18). The Court finds that there is sufficient guidance in the specification as to the

 meaning of “modulator” to one of ordinary skill in the art. See Exxon, 265 F.3d at 1375 (“If the

 meaning of the claim is discernible, even though the task may be formidable and the conclusion

 may be one over which reasonable persons will disagree, we have held the claim sufficiently

 clear to avoid invalidity on indefiniteness grounds.”) The Court finds that various dictionary

 definitions provide a consistent meaning for the term modulator as, generally, a device that

 modulates an electronic wave, e.g., a device that varies one or more properties of a carrier wave

 or signal, such as the amplitude, phase, or frequency of the wave. Wi-LAN’s proposal is

 partially consistent with the ordinary meaning of the term modulator, but adds language that is

 mostly superfluous based on the claim language following the term to be construed. The Court

 finds that in other claims the parties have not construed the terms modulate, modulating, or

 modulated, and thus the Court will not construe modulating, as opposed to modulator, in the

 claim at issue. The Court construes the term “modulator” to mean “a device that varies one or

 more of the amplitude, frequency, or phase of each data symbol.”




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    12. “a source of more than one and up to M direct sequence spread spectrum codes,
        where M is the number of chips per direct sequence spread spectrum code;”

      Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  “a device that originates more than one and    Invalid for failure to meet 35 U.S.C. § 112, if M
  up to M direct sequence spread spectrum        does not equal N
  codes, where M is the number of chips per
  direct sequence spread spectrum code”          “Alternatively, a source of more than one and
                                                 up to M direct sequence spread spectrum codes,
                                                 where M is the number of chips per direct
                                                 sequence spread spectrum code, where M
                                                 equals N”

        Claim 2 requires a source of M direct sequence spread spectrum codes, where M is the

 number of chips per code. The specification provides that “[t]he computing means shown in

 FIG. 1 includes a source 16 of N direct sequence spread spectrum code symbols and a modulator

 18 to modulate each ith data symbol from each set of N data symbols with the I code symbol

 from the N code symbol to generate N modulated data symbols, and thereby spread each I data

 symbol over a separate code symbol.” ‘802 patent, 4:7-12. Similar to the “first computing

 means” term of claim 33, Defendants argue that the “source” term in claim 2 is indefinite, and

 thus renders claim 2 invalid, if M does not equal N. Defendants argue that, like independent

 claim 33, dependent claim 2 is invalid because the specification does not provide structure

 corresponding to the “M” chips per code function. Similar to its previous findings as to the “first

 computing means” term of claim 33, the Court finds that changing N to M for certain terms is

 not an impermissible broadening of the claims during reissue. The Court finds that M need not

 equal N, and conversely, the Court is not convinced that M cannot be a different number than N.

 Thus, the Court rejects Defendants’ arguments that claims 2, 4, 12, and 33 reciting the term “M”

 is invalid if M does not equal N. The Court further rejects Defendants’ argument that this

 dependent claim is broader than claim 1 by eliminating the fixed numerical relationship between

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 the number of data symbols and chips per code. The Court finds that the ordinary meaning of

 the term “source” is any thing or place from which something comes, arises, or is obtained; the

 point of origin; or the point at which something springs into being or from which it derives or is

 obtained. Wi-LAN proposes a definition for the term “a source of” that is consistent with the

 ordinary meaning of that term, while Defendants do not provide a definition and only argue that

 M must equal N. The Court finds that while a source can be a device, it may not necessarily be

 limited to a device. Thus, the Court construes the term “source of” to mean “place or device that

 originates.”

    13. “transformer”

       Wi-LAN’s Proposed Construction                  Defendants’ Proposed Construction
  “a device that performs an N-point transform     Invalid for failure to meet 35 U.S.C. § 112, if
  on each set of N data symbols to generate        M does not equal N
  modulated data symbols as output, the
  modulated data symbols corresponding to a        “Alternatively, a transformer for operating on
  spreading of each data symbol over a separate    each set of N data symbols to generate
  code selected from a set of more than one and    modulated data symbols as output, the
  up to M codes, where M is the number of          modulated data symbols corresponding to a
  chips per code”                                  spreading of each data symbol over a separate
                                                   code selected from a set of more than one and
                                                   up to M codes, where M is the number of
                                                   chips per code and where M equals N”

        Claim 4 requires a transformer for operating, where M is the number of chips per code.

 The specification provides that “[t]he alternative transmitter shown in FIG. 4 includes a

 transformer 20 for operating on each set of N data symbols to generate N modulated data

 symbols as output. A series of transforms are shown.” ‘802 patent, 4:40-43. The specification

 also describes “[e]xamples of the N-point transforms.” ‘802 patent, 4:66. Similar to the “first

 computing means” term of claim 33, Defendants argue that the “transformer” term in claim 4 is

 indefinite, and thus renders claim 4 invalid, if M does not equal N. Defendants argue that, like

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 independent claim 33, dependent claim 4 is invalid because the specification does not provide

 structure corresponding to the “M” chips per code function. Similar to its previous findings, the

 Court finds that changing N to M for certain terms is not an impermissible broadening of the

 claims during reissue. The Court finds that M need not equal N, and conversely, the Court is not

 convinced that M cannot be a different number than N. Thus, the Court rejects Defendants’

 arguments that claims 2, 4, 12, and 33 reciting the term “M” is invalid if M does not equal N.

 The Court further rejects Defendants’ argument that this dependent claim is broader than claim 1

 by eliminating the fixed numerical relationship between the number of data symbols and chips

 per code. The Court finds that the ordinary meaning of the term “transform” is to change in

 form, appearance, or structure; a mathematical quantity obtained from a given quantity by an

 algebraic, geometric, or functional transformation. Wi-LAN proposes a definition for the term

 “transformer” that is consistent with the ordinary meaning of that term, while Defendants do not

 provide a definition and only argue that M must equal N.         The Court finds that while a

 transformer can be a device that performs an N-point transform, it may not necessarily be limited

 to such a device. The parties have not disputed the meaning of other claims that use the terms

 “transformer” or “transforms.” Thus, the Court construes the term “transformer” to mean “a

 device that performs transforms.”




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    14. “correlator”

       Wi-LAN’s Proposed Construction                 Defendants’ Proposed Construction
  “a device that measures the degree of           Invalid for failure to meet 35 U.S.C. § 112, if
  similarity between the received signal and      M does not equal N
  each code from a set of more than one and up
  to M codes, where M is the number of chips      Alternatively, “a correlator for correlating each
  per code”                                       modulated data symbol from the received
                                                  sequence of modulated data symbols with a
                                                  code from a set of more than one and up to M
                                                  codes, where M is the number of chips per
                                                  code and where M equals N”

        Claim 12 requires a correlator for correlating, where M is the number of chips per code.

 The specification provides that “[t]he dot product in FIG. 2 can be implemented as a correlator.”

 ‘802 patent, 4:15-16. The specification further states: “The computing means 24 shown in FIG.

 2 includes a correlator 26 for correlating each I modulated data symbol from the received

 sequence of modulated data symbols with the I code symbol from the set of N code symbols and

 a detector 28 for detecting an estimate of the data symbols from output of the correlator 26.”

 ‘802 patent, 4:22-28. Similar to the “first computing means” term of claim 33, Defendants argue

 that the “correlator” term in claim 12 is indefinite, and thus renders claim 12 invalid, if M does

 not equal N. Defendants argue that, like independent claim 33, dependent claim 12 is invalid

 because the specification does not provide structure corresponding to the “M” chips per code

 function. Similar to its previous findings, the Court finds that changing N to M for certain terms

 is not an impermissible broadening of the claims during reissue. The Court finds that M need not

 equal N, and conversely, the Court is not convinced that M cannot be a different number than N.

 Thus, the Court rejects Defendants’ arguments that claims 2, 4, 12, and 33 reciting the term “M”

 is invalid if M does not equal N. The Court further rejects Defendants’ argument that this

 dependent claim is broader than claim 1 by eliminating the fixed numerical relationship between

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 the number of data symbols and chips per code. The Court finds that the ordinary meaning of

 the term “correlate” is to put or bring into mutual, complementary, parallel, or reciprocal

 relation; related by a correlation; having corresponding characteristics. Wi-LAN proposes a

 definition for the term “correlator” that is consistent with the ordinary meaning of that term,

 while Defendants do not provide a definition and only argue that M must equal N. The parties

 have not disputed the meaning of other claims that use the terms “correlator” or “correlating.”

 Claim 12 specifically requires a detector for detecting an estimate of the data symbols from

 output of the correlator, implying that the correlator correlates for the purpose of “detecting an

 estimate of the data symbols.” Thus, the Court construes the term “correlator” to mean “a device

 that measures the degree of similarity between the modulated data symbols and a code.”

 VII.   CONCLUSION

        The Court adopts the constructions set forth in this opinion for the disputed terms of the

 ‘222 and ‘802 patents. The parties are ordered that they may not refer, directly or indirectly, to

 each other’s claim construction positions in the presence of the jury. Likewise, the parties are

 ordered to refrain from mentioning any portion of this opinion, other than the actual definitions

 adopted by the Court, in the presence of the jury.         Any reference to claim construction

 proceedings is limited to informing the jury of the definitions adopted by the Court.


 SIGNED this 11th day of May, 2010.



                                       __________________________________________
                                       T. JOHN WARD
                                       UNITED STATES DISTRICT JUDGE




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